 

Case: 1:15-Cv-10553 Document #: 1 Filed: 11/20/15 Page 1 of 100 Page|D #:1

fl-"‘_L,
UNITED STATES DISTRICT COUR'I`Q` 0 ' cody
FOR THE NORTHERN DISTR]CT OF ILLINOIS`“? . __. /?,l;,
0/
Oc/;?:

Jane¢ Garner,et al

 

15CV10553
JUDGE DARRAH
Plaintiff(s), MAG, JUDGE MARTIN

VS.

DOOR 81 hillin GUARD SYSTEMS,INC,
JIM GL¢"`.SS’et ala

 

steamsz

NUV 3 0 ?015

THOMAS G. BRUT`O
CLERK. U.S. DISTRICT CgURT

‘-»¢\u»'\u»"~_»'\_/~q_r\_/\_r-_r\_r*\_r*~_r\_/\_r\_r

Defendant(s).

COMPLAINT FOR VIOLATION OF CONSTITUTlONAL RIGHT§_ ,
IN.JUNCTI\)E RBLIEF,_JUSTICE,L AND arco vloLA'rIoNs

Th is form complaint is designed to help you, as a pro se plaintiff state your case in a clear
manner. Please read the directions and the numbered paragraphs carefully. Some paragraphs
may not apply to yoa. Yon may cross oat paragraphs that do not apply to _vou. Ail references
to “plaintifj” and “defendant” are stated in the singular but will apply to more than one
plaintiff or defendant if that is the nature of the case.

l. This is a claim for violation of plaintiff 5 civil rights as protected by the Constitution and
laws of the United States under 42 U.S.C. §§ 1983._ 1985__ and 1986.

2. The court hasjurisdiction under 28 U.S.C. §§ 1343 and 1367.

3. Plainliff"s full name is James Henry Garner

If there are additional ptaintg'ffs, fill in the above information as to thejirst-named plaintiff

and complete the information for each additional plaintiff on an extra sheet.( SEE #1
At t achment )

 

 

 

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D€ferldant,ehicag° Police Sergeant or Lieutenant E-A Hr= F`errer ,iS
(`name. badge number ifknown} (baf'lne# 2409)

E|an officer or official employed by City of Chicago Police Department ;
( department or agency of government)
E-A Mr. Jim C-.lass via Door 8.» Window Guard Systems,fnc. or

 

E] an individual not employed by a governmental entity.

l_'f there are additional defendants, fill in the above information as to thefr`rst-narned
defendant and complete the information for each additional defendant on an extra sheet.[ SEE #2
Att achment )

5.

The municipality_, township or county under whose authority defendant officer or official

acted is Ci ry Of Cl'liCaQO . As to plaintiffs federal

 

constitutional claims the municipality_. township or county is a defendant only if

custom or policy allegations are made at paragraph 7 below.

On or about October 27, 2015, at approximately 7 242 E.'l a.m. l:l p.m.
(month_.day_ year)

plaintiff was present in the municipality (or unincorporated area) of Chicaqo

, in the County of C°°k ,

 

State giflllinoigs 31 6522 S. Winche star Avenue, Chicago, Ill., 606 36
( identify location as preciselyf as possible)

 

When defendant violated plaintiff s civil rights as follows (Place X in each box that
applies): '

E

arrested or seized plaintiff without probable cause to believe that plaintiff had
committed_. was committing or was about to commit a crime;

searched plaintiff or his property Without a warrant and without reasonable cause;
used excessive force upon plaintiff;

failed to intervene to protect plaintiff from violation of plaintist civil rights by
one or more other defendants;

failed to provide plaintiff with needed medical care;

conspired together to violate one or more of plaintiffs civil ri ghts;

Other:

Incident,` just one of numerous ac‘_tions and or inactions arising

|]=l§|:| IZE|H

out of an ongoing enterprise and scheme by some Defendants,

 

including City of Chicago, Cook County, and State of Illinois,
to disrupt wreck pending federal cases, #120v9994 and #l4cv9880 ;

2

 

 

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and to escape massive liability for kidnapping seven Plaintiffss

 

'F. Defendant officer or official acted pursuant to a custom or policy of defendant
municipality. county or township, which custom or policy is the following: (Leave blank

r_`fno custom orpoh'cy is alleged):City of Chicago, County of Cook, and State
of Illinois; all have a policy and practice of ignoring, coverino~up,
and or failing to properly investigate or punish police misconduct,

 

police brutality, employee misconduct, concealment, suppression,
perjury, fraud upon Court.c manufacture of false police reports,
criminal conspiracy, and other racketeering type conduct, including
fact that City of Chicago has a well settled, widespread ”code of

 

 

silence" that exi sts within the Ch.i cage Pol:i.ce Depa.rtment¢
8. Plaintiff was charged with one or more crimes_. specifically:

Plaintiff JH Garner was threatened with arrest by Defendant Ferrer

 

and subjected to unlawful rg§1zain14_dn1ing_Qcichez_Zl,_2OlS=incident,

 

after Defendants City of Chicaqo. Countv of Cook. Stej_e_ef_lllinois
via Department of Children and Pamily Services{DCFSl. and_gx_MB__
Financial Bank, have conspired to have Plaintiff JH Garner charged

with battery, child neglect, child endangerment, unlawful use of weapon,etc

9. (Place an X in the box that applies. l_'f none applies, you may describe the criminal
proceedings under “Other”) The criminal proceedings

|:l are still pending
|:| were terminated in favor of plaintiff in a manner indicating plaintiff was innocent.'
|:l Plaintiff was found guilty of one or more charges because defendant deprived me of a

fair trial as follows

 

 

§ O'd`lel'i WF-'re term' acted in_tauor_oi_f_’_lain_ti£L.ll:LGanmr_nLLtf°f
l 1 chJ.ld endangerment because Defendan+.s City of Chicago,

County of Cook, and DCP`S,l conspired to deprive ne of a fair trial.

 

1E)rarnples of termination in favor of the plaintiff in a manner indicating plaintiff was innocent
may include ajudgment of not guilty_ reversal ofa conviction on direct appeal, expungement ofthe
conviction._ a voluntary dismissal (SOL) by the prosecutor_. or a nolle prosequi order.

3

 

 

 

 

ll.

12,

13.

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10. Plaintiff further alleges as follows: (Descr:'be what happened that you believe
supports your claims To the extent possibte, be specific as to your own actions and

the actions of each defendant.)
INTRODUCTION wI‘r!-I SPECIF‘IC Ac‘_t‘loNs

This is a civil action seeking more than 5100,000,000 in
damages for repeatedly, over an unconscionable two decade plus

Periods depriving some Plaintiffs, while acting under color of lau
Chicago Offieials{including Police), Cook County Officials, and
lllinois Officials, of rights secured by the Constitution and laws

of the United States of America(USA),.and for related State law

claims, in regard to justice for seven kidnapped Plaintiff Garner's

babies. who upon information and belief, hage_h££n_£§§£d+_lorlnred,
abused, and enslaved, while such kidnap victim's Plaintiff parents

have subjected to numerous illegal raids, unlawful seizure/theft
of property, deliberate destruction of evidence, incidents of property

damage2 and almost countless other disruptive tactics and conggiracies,

all part of a scheme and enterprise, designed to cover-up, obstruct
(SEE "ATTACHED PLAINTIFF FURTHER ALLEGES:")
Defendant acted knowingly_. intentionally_. willfully and maliciously

As a result of defendant`$ conduct, plaintiff was injured as follows:

Plaintiff JH Garner's life was permanently destroyed on Novenber 14,
1994, when Garner's first four much loved revered babies were taken
by force to a Chicago police station, tortured for hours before
parents charged with fraudulent child neglect charges...all later

dropped, and such four babies kidnapped from station, all under 4-years;

leaving Garner to suffer decades of severe inhumane emotional distress,
and catastrophic financial losses/damages in millions, including the

more than $SO0,000 owed to Defendant Cocomise, Plaintiff Turner and

or all ten Plaintiff children have suffered severe emotional distress,

Plaimiff asks that me case be tried by a jmy. n Yes n No f?°'}“l i“J'“W» PhY‘-"i°*l
injury, and much more.

 

 

 

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14. Plaintiff also claims violation of rights that may be protected by the laws of lllinois, such
as false arrest__ assault_. battery_. false imprisonment malicious prosecution, conspiracy_.

and/or any other claim that may be supported by the allegations of this complaint

WHEREFORE, plaintiff asks for the following relief:

A. Damages to compensate for all bodily harm_. emotional hann_. pain and suffering1
loss of income. loss of enjoyment oflife, property damage and any other injuries
inflicted by defendant_:

B. (Piace X in box ifyou are seeking punitive damages.) Punitive damages

against the individual defendant and triple damages , per Rico violations;

 
    

 

C. Such injunctive_. declaratory_. or other relief as may be appropriate5 including
attorney’s fees and reasonable expenses as authorized by 42 U.S.C. § 1988.
. / - /§/` / 5!'£:‘£¢¢ z I_" ‘ "
, A;_,. ____ _ 7 4 '
Plaintiff" s signature 5____,__ __ _ 1-;',_ l ._ gq’/" _., __ er HAd"e/m_¢€*-'M”"Q£

Plaintiff' s name (print clearly or type): Jame s Garner; ANOOCP; Est at e of HMG;
Tina Turner

Plaintiff"s mailing address: P, 0 , Box 56 35'7]_; P,O, Box 56 8849

Cify Chicago State Illinois ZIP 606 53

Plaintiff"s telephone number: {` 519 860-4196

Plaintiff"s email address (if you prefer to be contacted by emaii):

 

15. Plaintiff has previously filed a case in this district Yes [l No
J[fyes, please list the cases beiow.
050V0675 ; 120V09994 ; 14CVOQBBO

Atty additional plaintiffs must sign the complaint and provide the same information as the first
plaintiff An additional signature page may be added.

 

 

 

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#l Attachment:

"LIST OF PLAIN'I' IFF‘S"

=N THE U`NITED STATES DISTRICT COURT
NORTHERN DISTRICT OF |LL|NOIS
EASTERN DIV|S|ON

JAMES HENRY GARNER, minor children)
JAMES AM!STAD MOSES GARNER, )
JAMES ED SOCRATES GARNER. )
K|M VlOLET GARNER, )
JAMES JUL|US GARNER, )
HILLARY LATOY GARNER; )
JAMES LEE GARNER, )
APRIL TlNA GARNER, )
HENRY MALCOLM GARNER, )
JAMES RICHARD GARNER, )
T|NA AB|GA|L GARNER; )
T|NA TURNER, and JAMES H. GARNER)
on behalf of THE ESTATE OF HENRY )

GARNER, AFRICAN NATIoN oNE )
into oNLY cannon oF PnosPnRITY)
rANoocP), )

Plaintiffs; \

 

 

 

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#2 Attachment:
"LIST OF DEFENDAN‘I'S"

=N THE UNITED STATES D|STR|CT COURT
NORTHERN DlSTR|CT OF !LL|NO|S
EASTERN D|VlSION

Mercy Hospital and Medical Center1)
UNKNONN IJ'OCTUR, lll\"KNOWN '-\l’.`JQI(F.l-l;
Rush University Medical Center
UNKNOWN !`)(lCTOR, UNKNOWN WORKE"~`!;
John H¢ Stroqer, Jr. Hospital of
Cc\o}¢; Co-tnty ‘L_TN`V.NOWN '.\?0?.!-¥»'-`.'2:
Illinois SFpartnent of Fhildren
and Family Services(DCFS) STUART
Aa MOORE, KE,NN“:`,D\.’ J§MES, LORNE
GARR::`..I`T, UNKNOW`N ‘S"JPE'ZV`ISOR,
UNKN{')'\J'N NORKER, UNKNOWN DI?ECTOR;
MICHAEL FCX; Domain ?ealty'
UNKNOWN A('_`-ENT:

Chicago Police Of`ficers:
GOMEZ-#'?OOQ, ROMANOWSKI-#SEl'?
Sgt AR’I'Z, DOWLING-#12445,
DOWLING;

CITY OF CHtCAGO, JASON ROBERTS;)
COUNTY OF COOK; Rosestone )
|nvestments,LLC, ALLAN K|RCHNER; )
STATE OF ILL|NOIS; IRA NEVEL; )
G|LBERT BALIN; PC Development |nc,)
PH|LLIP COCOMlSE; )

)

)

--»--¢ »---_~_»---.--_»~.»-.»~_~...

v
\-I\-_¢¢‘\-\_r‘\q.p'

MB FINANC|AL BANK; OTIS DAVIS;
Chicago Police Ofiicers: PH|L CL|NE,
ROBERTA BART|K, JAMES DOWLING. _'
DONNA STRAND-#2657, cop ORT|Z. )
cop-#18692, Un|<nown cop-#1, )
Unknown cop-#Z, Unknown cop-#S, )
Unknown oop~#4. Unknown cop-#§, )
Unknown cop-#B, Unknown cop#?; )
Cook County State’S Attomey ANITA )
ALVAREZ, AB|GA|L ABRAHAM; )
Cook County Sheriff THOMAS DART, )
Sheriff Deputy-Star-#11080, GEORGE )
VOURNAZOS, unknown Sheriff attorney, )
DANIEL CRAMER-Star-#SOSO. CARMEN)
GERCONE-Star-#Zzt, unknown )
deputy-#t, unknown deputy-#Z, and )
fortner Sher`rff Deputy-LARUE BEY; )

PAGE 1 of 2

 

 

 

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"LIST OF DEFENDANTS"(continued)

Chief .ludge of Cook County Cireuit Court )
T|MOTHY EVANS1 LAURA KELL\'; )
Cook County Hospitai Doctor M|CHELLE )
LORAND; COOK COUNTY PUBL|C )
GUARD|AN, Assistant Pub|ic Guardians)
and LESLIE ROBBINS; Cook County )
Juvenile Court Coordinator MAR¥ LUND )
|I|inois Department of Human Rights
ROCCO CLAPSl PAUL GALBRA!TH;
Attomey Registration and Disciplinary
Commission JEROME LAF¢!|'(IN1 RlTA
GREGG|O, G|NA ABBATEMARCO,
JOHN CESARIO, ALTH.'~;A P:nLLER;

l|linois Attomey General EWA LIPSK|',
UNKNowN :toat<sa; GLaNN CHE,<TKON;-
Thomas Mora Society UNKNOWN
ATToat\=th-#l , t"~rtcno'.cn n.TToQN:~:Y_ez

MB Financia| Bank’s MITCH FElGER,
ANGEL BELTRANl MARLO GAAL,
ROBERT MAL|NOWSK|,

TROV ACOSTA;

Digby's Detective & Security Agency,|nc, )
Unknown Guard-#t, Unknown Guard-#Z; )

\\._/

Swap 0 Rama WALTER EDWARDS; )
CAROLYN SMlTHt CHARLES )
SILVERMAN, TORRlCK WARD, )
TIMOTHY ROWELLS; )
Cigna Insurance‘s unknown worker;)

Hartford Insurance's unknown
workers Luis Vera,-Ezikaqutersen,
Ricardo Cazares, Meryl Daskal;
Robert Brunn; Rosemary/assistant
to Evans; Maggie Spearman;
Reverand Revis; Illinois Commerce
Commission(ICC)’s unknown workers-
#l, #2, #35 Brothers Submarine
unknown worker; Brothers Food
unknown worker; Chicaqo Transit
Authority(CTA) unknown worker;
UNKNot.vN LawYa a ;

Richard Devine;
Defendants.

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#3 Attachment:
"PLAINTIFF FURTHER ALLEGES"

justice, use numerous expensive fraudulent cases/litigation to try to

usurp Plaintiff JH Garner's quarter-century home base/subject property(5114
S. Damen, Chicago, Illinois 60609) that kept Garner in a chaotic position
of a pauper(SEB Exhibit #457 for example of how Defendant officials have
built a reoutation for using litigation to block justice and financially
ruin non-rich or poor litigants], unable to have any fair opportunity to
pursue redress for the initial four kidnapped Plaintiffs on November 14,
1994(including JL Garner, AT Garner, as perfectly healthy toddlers, &

HM Garner, JR Garner, as very healthy well fed twin sons about/B-month Old
babies/SEE Exhibit #"B"}, along with Carner's well fed possibly disabled
three mostly teenage alleged half-siblings(SEE Bxhibit #"B"/entrusted to
Garner per last wishes of Garner's much revered late father Henry M Garner
who died in 1994, just months before initial November 1994 kidnappings}
that such officials separated coerced into pressured “pawns" used to
successfully "frame" Garner on a bogus misdemeanor manufactured in October
1994 that created Garner's only loss of a criminal case in 1996, and it was
after Garner excercised his First Amendment right to launch an international
letter writing campaign plus the release of the April l, 1995 eight-page
Anericans For Fairness(AFF) flyer/publication to address plus protest both
the aforementioned kidnapping followed by innocent parent Plaintiffs being
subjected to an un-Constitutional juvenile court system featuring jury-less
Kangaroo courtrooms that force poor parents to face four or five government
agencies with separate lawyers while parents simultaneously facing criminal
prosecution in a double~jeopardy type situation(SEE Exhibit #131),

that the ongoing enterprise and scheme initiated by Defendant officials,
began,

NATURB OF ONGOING ENTERPRISE AND SCHEME

@

 

 

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#3 Attachment:
"PLAINTIFF FURTHER ALLEGES"(continued)

The enterprise against Plaintiffs was a concerted effort by Defendant

officials to drive Plaintiffs from subject propertyj use multiple fraud

upon Courts, rig litigation to harm plaintiffs financially, obstruct justice,

and violate their constitutional rights perpetuated by, among other thingss
i) 1995 retaliatory, intimidation attempt, brazen courthouse

hallway kidnapping of basically newborn Plaintiff TA Garner, executed

personally by Cook County State's Attorney ASA Defendant Abigail Abraham

and a few unknown Cook County Sheriff deputies, from the arms of Plaintiff

Turner, when Plaintiff parents appeared at a hearing in the old 26th and

Michlgan courthouse. ngq?é;
ii) 1995 around this time, Defendant Abraham, upon information

and belief, did contact two retail renters, that were paying about $1,000

each per month to Plaintiff Garner as Executor of Plaintiff Estate of

Henry M Garner to rent two storefronts at 1156 W, 63rd Street(Chicago, Ill

60621] and 1158 W. 63rd, respectively. Suddenly, such long term tenants

became hostile to Garner, with held vital rent paynents, combined to file

bogus litigation against Garner in Daley Center, Garner lost rigged case,

and Abraham has successfully terminated vital Estate revenues Thus, Abraham

had simultaneously destroyed the Estate‘s ability to function.o».ncausing

the Estate to lose more than three other buildings, embroiled Garner in

another expensive time consuming civil case9 and created a major disruption

to Garner's ability to fight two pending criminal cases(child neglect &

child endangerment) and two pending juvenile court cases(Garner's four or

five kidnapped toddlers plus babies & Garner's three half-siblings).

Therefore, in furtherance of enterprise to ruin Garner, Abrahan had Garner

financially and mentally overwhelmed under the impossible unfair burden on

a Paup@f» Of being forced to almost simultaneously fight five fraudulent

®

 

 

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#3 Attachment:
"PLAINTIFF Fu.zTHBR Al.LHGES"(continued}

rigged cases pending in three different courthouses, as Garner/an American
father refused to take any patenting courses that he could teach, and thus,
refused to help Defendant officials cover-up their crimes against Garner‘s
family. Other American fathers(SEE Exhibit #"A") have been subjected to

the ultimate excruciating agony of having their babies kidnapped by ruthless
blackhearted monsters masquerading as caring public servants/officials;
lndeed, a human being with even a hint of a conscience or moral conp&$$»
could never sleep at night, knowing they were in a position to help innocent
healthy happy babies being kidnapped from their father with a false report
followed by fraud upon a Court inducing some over-worked Judge to sign

a Court order,'"putting lipstick on a pig".,.....making a kidnapping seem
legal¢

iii) 1995, also around this time, Defendant Attorney Registration
and Disciplinary Commission(ARDC} via Defendant Althea J Kuller, denied
Plaintiffs equal protection under the law, because they failed to properly
investigate Plaintiffs complaints, ignored such complaints, and or
covered-up such complaints, in furtherance of enterprise.

iv) 1995 or 1996, on the day of a juvenile Court trial, Defendant
Chicago via unknown cops towed Plaintiff vehicles from street in front of
subject property, and made Plaintiff Garner late to trial, because Garner had
to "ready" a seldom used vehicle stored in garage.

v) June ll, 2014, Defendant Rosestone Investment LLC's boss
Defendant Allen Kirchner called(VISIT YOUTUBE channel TriSunTV7 & SEE
Exhibit-#?Ol} Plaintiff Garner with several "gang-ster"/organized crime
style threats(SEE Exhibit #304), after Garner's lllinois Supreme Court
appeal attorney Mr. Stephen Saporta filed a June 9, 2014 motion seeking

to overturn or nullify fraudulent rigged five-year+ Daley Center foreclosure

case{#OBCH34917) filed without any standing and unlawfully maintained in

 

 

 

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#3 Attachment:
"PLAINTIF`F FURTHER ALLEGES"(GOR'Linued)
Daley Center years to wear down and further financially ruin Garner, in
furtherance of enterprise, while Defendant Timothy Evans ignored Garner's
complaints about misconduct plus fraud in foreclosure case, as well as
bogus criminal cases lodged by Defendant MB Financial Bank(MB) at direction
of MB branch manager Defendant Troy Acosta, MB Defendant Robert Malinowski,
MB Defendant Marlo Gaal, and MB boss Hitch Feiger. Defendant City of Chicago
and MB operative Kirchner subjects Garner to illegal eviction threats, demands
that Garner stop Attorney Saporta from trying to nullify fixed foreclosure
case, indicate he had Daley Center clout, suggest an arson insurance scheme
to get his money out of subject property, and finally, threaten further
interference with Garner's pending federal lawsuit(#lzcv9994).

vi} June 17, 2014, Plaintiff Garner filed a housing
discrimination complaint against Defendants Rosestone, Kirchner, Kirchner's
attorney Mr. Ira Nevel, PC Developnent,lnc, and MB/City operative/Kirchner
associate Phillip Cocomiseo United States DePartnent of Housing and
Urban Development(HUD) sent such HUD complaint to Defendant Illinois Department
of Human Rights(IDHR) for ipvesrigation(loun #2015CH0732 / HUD 05»14-1549-8),
resulting in complaint Respondents(Nevel & Cocomise) lying to bb§tru€f rigged
investigation by Defendant IDHR Investigator III Paul Galbraith, who along
with Defendant IDHR boss Rocco Claps that conspired to sabotage previous
2005 IDHR case against City and MB, filed by Garner. Thus, Galhraith conducted
an unfair one-sided investigation, failed to seek or review Garner's
evidence, and refused Garner's request for a temporary restraining order
to protect Garner's evidence and Garner's family still residing in subject
propertya Despite IDHR being aware that Cocomise had previously lied
to IDHR to close 2009 case(#2009CHlOl7 / HUD#OS-OB-lQZB),IDHR ruled in favor
of all R€spondents and closed 2014 case.

vii) September 2, 2014, Plaintiff Garner sent letter to Defendant

Cook County Sheriff Tom Dart about his subordinates perjury in conspiracy

 

 

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#3 Attachment:
"PLAINTIFF FURTHER ALLEGES"(continued)

to create yet another fraudulent Daley Center Courthouse

case(number l3Ml724672), that there had been several prior fraudulent

Daley Center cases(#??COTDSGBZI Judge Bush May 5, 1999 Order attached to
Exhibit #545,etc) filed against subject property, that Defendant Evans

was aware of such fraud, and soon Dart's office via Sheriff attorney
Defendant George Vournazos invited Garner to send the Sheriff additional
evidence via the Vournazos email address rendered to Garner¢ Thus,

Garner sent additional evidence to Dart's office and a ld-page letter(Exhibit
#546) to Cook County Judge George F. Scully about such fraud plus

perjury, pursuant to advice via letter from Evans office.

viii) September 22,r 2014, during a hearing pursuant to Defendants
Rosestone/Kirchner's attorney Nevel‘s motion to hold Dart in contempt for
failure to quickly execute eviction of Plaintiff Garner's family from
subject property, the "fixed“ case was exposed before Judge Scully(VISIT
YOUTUBB channel "TruthLeaks" & SBB "Ira Nevel" parts 1-3), when a frequently
screaming Nevel repeatedly disrespected Judge Scully, after Vournazos told
the Court that Sheriff Dart's office would not execute 5cully's eviction
order while Sheriff's investigation was pending and such order would never
be executed, if the investigation confirmed Garner's allegations to the
Sheriff that Nevel obtained such order via fraud. It was outrageous
complete misconduct to see a Cook County Judge seemingly begging Nevel to
understand that he wasn't leaving Nevel hanging. Despite numerous attorney
witnesses(including Vournazos, another unknown Sheriff attorney, Plaintiff
ANOOCP church attorney Defendant Timothy Rowells,etc)ll Defendant ARDC via
Defendants Jerome Larkin, Rita Greggio, Gina Abbatemarco, and John Cesariol
all conspired to cover-up Nevel's misconduct and wrongfully closed Garner's

ARDC complaints against Nevel, Defendants Carolyn Smith, Charles Silverman,

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#3 Attachment:
"PLAINTIFF FURTHER ALLEGBS"(continued)

Torrick Ward, and or Rowells, all crooked real estate lawyers who conspired
against Plaintiffs.

ix) November lO, 2014, Plaintiff Garner's family was inside
subject property, when Garner heard a loud hanging against the building,
like someone was trying to break in. Garner looked out of a north side
second floor rear window into adjacent alley and saw Defendant Kirchner
standing on Damen Avenue with someone with a big video camera, along with
numerous Cook County Sheriff vehicles, as several Sheriff deputies were
wielding a huge battering ram, being usegpbreak down the front north door
that leads into the Plaintiff ANOOCP churcho within minutes, unknown
deputies could be heard destroying internal building doors and soon, at
least three unknown Sheriff deputies, some with guns drawn aimed in
direction of Garner's disabled family, appeared in the second floor rear
kitchen area where the family was gatheredo At that point, Garner noticed
a man with a big video camera, who appeared to be shooting video of subject
property and Garner's three disabled children, as European American female
Sheriff deputy-#l says, statements like, "your time to make decisions is past"9
"you cannot take any personal property with you",, "you have to see Mr.
Kirchner as you go outside, to get your personal property,etcn Deputy-*l
asked Garner for the combination to any safe, so they could count any money
that was therein the safe and she asked Garner to sign a Sheriff form.
Garner refused and was ordered to exit building from the front south Damen
Avenue door¢ Thus, instead of allowing Garner's family to exit from the rear
west side door into the family van parked in the rear drive way, illegal
raiding party(Kirchner's team, Cook County Sheriff's team,etc) forced family
to be subjected to a "prep walk" past onlookers and MB's bank workers.

Outside, when Garner asked Kirchner for the property that was still inside

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#3 Attachment:
"PLAlNTIFF FURTHER ALLEGES"(continued)

subject property, Kirchner says something like, "why, so you can make
some more motions to cost me some more money", as he walked into subject
property, as the illegal raiding party could be seen running in and out
of the front and back exit doors of subject property, looting the building.
Garner called Chicago police about property being stolen and the police
did not do anything, like arrest anyone or even make a police report,
according to Garner‘s available notes, at this time. Garner called the
Cook County Sheriff worker in charge of the investigation of Deputy(#llOBO]'s
perjury that was used to create eviction case and such worker says he has
not completed his investigation, someone in the Sheriff‘s office has a
vendetta against Garner, and gave Garner the name plus phone number of the
person in charge of the execution of evictions. Garner called that person,
who advised Garner to call Chicago police about subject property lootingq
Standing outside to watch the illegal raid, was Defendant Cocomise, who asked
Garner whether Kirchner had took all of Garner's evidence{for pending
federal case #12cv9994), asked Garner whether he wanted to move his family
into Cccomise's vacant Ellis property, and offered Garner $100 to buy
Garner's disabled family coats at Salvation Army thrift store, since the
Sheriff had took the family coats, forcing Garner to leave in a small
Christmas blanket.

x) October 27, 2015, around 7240 am, Defendant City operative
Defendant Door l Nindow Guard Systems,lnc(DAWGS) via boss Defendant Jim
Glass led a group of men, who broke down both part of the exterior fence and
front drive-way gate, to trespass on Plaintiff ANDOCP church property at
6522 S. Winchester Avenue, Chicago, Illinois 60636, Plaintiff Garner, who

was at the church, noticed the break-in and trespass, and called Chicago

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#3 Attachment:
"PLAINTIFF FURTHER ELLBGES"(continued)

Police. Soon Chicago police officer Dowling(E-A-M) star number 12445 and
a second officer Dowling(E-A-M), arrived and Glass gave the officers a
Court Drder(Exhibit #955] that Glass said, gave Glass the authority to
break into the church. Garner told the officers the Order did not give
Glass any authority to break into anywhere. The officers called a
superior and Sergeant or Lieutenant Defendant Ferrer star number 2409
arrived¢ Ferrer read the Order and threatened to arrest Garner, unless
Garner unlocked the church doors. When Garner refused, Ferrer told Glass
that Glass could break into the church, and Garner stayed in van with

his disabled family, who were subjected to trauma of a second illegal
raid, in less than a yearo Glass broke into church, as officers followed,
there was a great deal of property damaged, the church building was damaged,
there was looting, the church office was a wreck, and there was outrageous
deliberate vandalism, where someone in the illegal raiding party, urinated
in a church cooking pot. Ferrer was asked by Garner to have Glass move
the big rental truck in the church driveway, blocking Garner from driving
the van off of church property, because Garner had to use the washroom,
and Ferrer refused, subjecting Garner's family to unlawful restraints
Next, at Glass urging, Ferrer ordered Garner to open driver's side rear
sliding door of van, to expose Garner's disabled family to Glass taking
video and or pictures with his cell phone and Plaintiff Turner told Ferrer it
was illegal for Glass to be taking pictures of her kids¢ Turner remembers
Ferrer saying its fine, it is not illegal. Ferrer finally, allowed the
family to close the van door, saying the kids looked okay, but he failed
to order Glass to remove the truck blocking the van from leavingg Garner
called Chicago police again asking for Ferrer's superior to come to the

church and the police refused° Garner asked all three Defendant officers

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#3 Attachnent:
"PLAINTIFF FURTHER ALLEGES"(continued)

to arrest Glass for previous property damage at the church, for which Garner
had a police report number, and for the crimes(trespass, property damage,etc)
Glass was currently commiting, and all three officers refused, Thus, Garner
made a complaint with the lndependent Police Review AuthOrity(IPRA]»
OPERATIVES OF ONGOING ENTERPRISE AND SCHEME

Defendant officials are the main driving force behind the ongoing
enterprise, such officials directly attack Plaintiffs via various 'corrupt
public officials(like Defendants Artz, Roberts, three Dowlings, Alvarez,
Abraham, Vournazos,etc) and at almost every opportunity, such officials
often simultaneously indirectly attack Plaintiffs via various mostly real
estate related operatives(like Defendants Kirchner, Nevel, Balin, Cocomise,
MB, Smith, Silverman, Ward, Rosestone, DAWGS, Glass, and Rowells),

Such operatives use fraud, perjury, theft, criminal conspiracy, false
reports, forged deeds, and other crimes to disrupt, harass, and steal
from Plaintiffs, while receiving cover/protection and help from Defendant
officials.

For example, on September lO, 2015, in a federal Court hearing(#lzcv9994),
Honorable Manish S. Shah advised Plaintiff Garner that the November 2, 2015
deadline for Plaintiffs' responses to Defendants(City & MB) motions for
summary judgment, would not be extendedd

On or around October 1, 2015, Defendant City workers sent a lawn mower
that mowed about a B-foot wide path toward the back of the vacant lot(é§lB
39 Winchester) adjacent to church property front stairs, as to create a path,
strangely leaving about 80% of the weeds on this private lot intact.

On Friday October 29 2015, Glass drove onto such vacant lot, blew his
car horn to create a commotionF when Garner came out on the front porch

church stairs to see what was going on, Glass told Garner he was here to

 

 

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#3 Attachment:
"PLAINTIFF FURTHER ALLEGBS"(COntinuPd}

take property, Garner called Chicago police because of previous police
report against Glass for property damage at church, Glass could be seen
making a phone call, a process server(?) walked through the path recently
made by City to walk to the church fence to hand Garner notice(alias
summons} that he was to appear'the next business day October 5, 2015 as

a Defendant in yet another fraudulent Daley Center courthouse civil

case number 15M1500489, and Glass drove away, after luring Garner to

come outside church to be served via the path created by the City¢

October 5, 2015, fearing Glass would send a DAWGS team to break in
to wreck church while Garner was in Daley Center, church made a last minute
hiring of a security guard service{lntellex 5ecurity Corp, 5760 S. Archer
Aveo Chicago, Illq 60638, 773-735-6666/SEE Bxhibit #956), which caused Garner
to be late to the 2pm hearing, when the guard arrived at l:SOpm, and although
Garner called the courthouse to try to explain his "good cause“ for running
late, the hearing was executed ex parte......without Garner° Upon arrival
to room 1402/Judqe Daniel J. Kubasiak, his clerk(A-A~F) refused to give Garner
a copy of the court Order, she advised Garner to call DAWGS to make the case
go away and Garner was given the "run-around" by various clerks, before
G§rner finally got a copy of one version of the Court's order, after a
visit to Cook County Circuit Court Clerk Dorothy Brown's lOth floor office.

October 6, 2015, Garner filed a motion to vacate, which was scheduled
to be heard on October 13, 2015.

October B, 2015, Glass brought a team of goons to the church at around
7=36am, and ordered these men to break into church, forcing Garner to call
Chicago Police. Defendant officers Gomez(#?OO§ / H-A-M}, Romanowski(#GBl? /
B-A-M), and followed by ranking officer Artz(B-A-M), arrived at church¢

Glass produced a different version of Kubasiak's October 5, 2015 Order and

gave that to the officers. When Garner rendered another version of the same

 

 

 

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#3 Attachment:
"PLAINTIFF FURTHER ALLEGES"(cOntinued)

Order containing additional struck content9 both Glass and Artz falsely
accused Garner of altering Judge Kubasiak‘s Order. While all officers

refused to allow Glass to break into the church that day, Artz told

Garner that Artz would appear at the church on Sunday October ll, 2015

with DAWGS/Glass and a bolt-cutter would be used to cut church locks

allowing Glass to break-in churchs despite Artz being aware that a

hearing had been scheduled for October 13, 2015 before Judge Kubasiako

All three officers refused to arrest Glass for damaging church property
during an illegal Jine 12, 2015 DAWGS raid, when Chicago police were called
and arrived to see Glass wielding a crow bar, yet these currently unknown
officers refused to make a police report or arrest Glass, who said he had
filed a lien and he would hold a "fire sale“ for church property and personal
property being wrongfully held at subject property controlled by Kirchner

and Glass, before Glass left; Garner lodged an IPRA complaint(#lO?Sé?S) against
unknown officers failing to arrest Glass and the next day, June 13, 2015,
Garner filed a police report{RD# HY297982).

In fear that Artz would be at the church on Dct. 11, 2015 with DAWGS,
Garner filed an emergency motion on October 8, 2015, but Daley Center clerks
blocked a next day(Friday October 9, 20153 hearing proposed by motion and SO,

Garner wrote a letter to Defendant Evans to once again make him aware of yet
another instance of Daley Center wrongdoing(Exhibit #954}.

October B, 2015, in retaliation for Garner stopping DAWGS illegal raid
and in violation of Garner's First Amendment rights, Glass sent Garner an
email(Exhibit #953) stating that Glass had made a false report(#13095228] to
Defendant DCFS and now, this false 2015 report by`Glass, like the false 1991

report by Defendant Cook County via Defendant Cook County Hospital(currently

@

 

 

 

 

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#3 Attachment:
"PLAINTIFP FURTHER ALLEGES"(coUtinued]

called "Stroger"?) via Defendant Michelle Lorand, clearly puts three
disabled minor Plaintiffs KV Garner, JE Garner, and JA Garner, in grave
danger of being kidnapped by the very corrupt Defendant State of Illinois
via Defendant DCFS(Exhibit #37), if such three Plaintiffs are with their
father Garuer, who is President of the church§Exhibit #952)¢

OCtober 13, 2015, Judge Kubasiak ruled against Garner as Glass had
promissed at the Octoher B, 2015 incident at the church, Thus, the
Court denied Garner's motion(s) and rendered an Order giving Garner
seven days to render property to BAWGS.

October 16, 2015, Garner filed an appeal with the Illinois Appellate
Court of Illinois, appealing Judge Kubasiak's Orders(including the 0ctober
13, 2015-Order).

October 27, 2015, as already described herein above, DAWGS and City
executed in conspiracy an unlawful raid at church, while case under appeal.

October 28, 2015, on or around this date on DCFS notice(Exhibit #959)
wrongfully left stuck on front gate fence directly adjacent to public
sidewalk in front of church, not in an envelope, for any person passing by
to read or take, by DCFS via Defendant Stuart A. Hoore and thus, Garner
would have no proper notice by DCFS that it was taking action based upon
the false report by a criminal like Glass.

November 2, 2015, was Honorable Federal Judge Manish S. Shah's deadline
for both Plaintiff Garner and Plaintiff Turner, disabled since lo-years old
when a gangbanger pumped several 44-caliber bullets into her head and
body, still living with inoperable lead fragments in her head today. Due
to being inhumanely overwhelmed by timely October 2015 chaos Garner was
subjected to as partially described herein above which included a threat

for a sixth kidnapping of Garner's last three disabled kids, Garner had not

@

 

 

 

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#3 Attachment:
"?LAINTIFF FURTHER ALLEGES"{continued)

just "good cause" but “great cause" to fail to comply such deadline(lch
9994) because Garner's usual burden of home-schooling/caring for three
disabled children plus a disabled wife was deliberately over-loaded

by the calculating Defendant officials ongoing enterprise and scheme.
Thus, on many`occasions over decades since the initial 1994 kidnaping
described herein(Exhibit #131) and similar to other legal kidnappings(like
Exhibit #"R") by corrupt conspiring officials, such Defendant officials
have ruined many of Garner's financial opportunities, kept Garner very
disrupted fighting numerous illegal raids, kept Garner tied-up on fraud
rife rigged cases(Exhibit #457), repeatedly threatened to kidnap wore
Garner kids(Exhibits #lO & #11), repeatedly used corrupt City owned Judges
like Laura Liu(Exhibit #?4) to steal Garner's subject property, wrecked
many investigations(Exhibit #25) initiated by Garner seeking relief, and
seemingly always in a struggle, being kept in a position of needing more
time. Therefcre, Garner filed a November 3, 2015 motion asking Judge Shah
for an extension of his deadline and an injunction/protection-

November 9, 2015, Judge Shah denied Garner's motion and Garner has been
systematically put into a bad position in the case(#lEcv9994). ln fairness
to Judge 5hah, he has not been aware that the events of December 2010 represent
a mere fraction of what this case is all about and settled federal case
number 08cv3527(€urtis vs Mount Prospect} mixed with Exhibit #”A" would
mirror this case.

Moreover, Judge Shah would have no way of knowing that Garner would
have never let former Attorney Defendant Jason Craddock file the case(#lch
9994) in 2012, if it were not for Craddock's pledge to amend the initial
complaint to include Garner's kidnapped children and Craddock would have never

represented Garner, had Craddock revealed he was secretly working with

 

 

 

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#3 Attachment:
"PLAINTIFF FURIHaR ALLEGBS"(continued)

Defendant MB‘s lawfirm for about a year, while Craddock deliberately
allowed the case to be "watered down"/lose conspiracy counts by ignoring
Honorable Federal Judge St. Eve's demands to bolster complaint's "bare-
bone" conspiracy allegations, before Craddock finally revealed in 2013
that he was connected to MB,

Without time and a protected work office, Garner cannot present the
proof to any Honorable Judoe, that Garner, had subject property stolen
by perjury in a fraudulent Daley Center 1998 case(Exhibit #"F") and was
raided by Defendant Kirchner in 1999(Exhibit #"D"), after Defendant Balin's
perjury during an ex parte hearing before Honorable Judge Bush. This
example case(Q?COTDSOBZl) proves that Garner can, with time, his evidenceg
and a competent attorneys convince any honest Judge to render a just
ruling, even if that means a complete reversal from a previous
position(SEE Judge Bush‘s May 5, 1999-order included with Exhibit #545 or
#546),

INJUNCTIVE RELIEF IS VITAL TO PLAINTIFF

 

In that vein, it is vital that Plaintiff receive services of a competent
honest civil rights lawfirm and injunctive federal court orders, described
as follows, to allow Plaintiffs their first opportunity to file a legally
sound complaint that fully describes the crimes committed against Garner's
family over decades and then have the chance to prosecute Defendants
without the endless interference and very expensive disruptive tactics,
many illegal, employed by Defendants to forever escape massive liability
willfully ruining a dozen lives(Exhibit #"B"):

aj Injunction against Maintaining or Starting New Litigation-

' @

 

 

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#3 Attachment:
"PLA'INTI FF FURTHER .-\LLE.GES" ( continued }

Some type of Order barring Defendants from using any type of fraudulent
litigation against Plaintiffs, until this case is resolved.

h) Injunction Against Any DCFS Action Qegarding Plaintiffs-
DCFS could not maintain or start any new investigation or take any action
against Plaintiff Garner's three youngest kids, until this case is resolved¢

IN FURTHERANCE OF ONGOING ENTERPRISE AND SCHEME

 

Defendant officials, from time to time, seemingly at every opportunity,
have systematically conspired with numerous other officials, along with
various private entities and operatives, to subject Plaintiffs to the
manufacture of numerous false reports(police, DCFS,etc), numerous incidents
of perjury{Exhibits #3, #514, #515, #596, and #5) to start fraudulent
-litigation or close investigations, case rigoing, mail fraud, and many other
crimes:

Defendant Cocomise bank fraud(Exhibits #468 & #470) compared to his
lies to government{Exhibit #481 & #596) to shut down investigationso

Defendant Nevel mail fraud{Exhibit #"E") letter to FBI, to obstruct
justice and prevent Garner from access to vital evidence therein subject
property, to wreck Garner‘s federal lawsuitso

Thus, Plaintiff also requests third injunction, as follows:

c) Defendants Cannot Uestroy or Sale Suhject Property-
Defendants must properly secure subject property and prevent any additional
loss of Plaintiff property, until this case is resolved. A Court appointed
receiver should control access to subject property, and allow Garner access
by appointment, until Garner is in a financial position to remove all

remaining property from subject property,

@

 

 

 

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#3 Attachment:
"PLAINTIPF FURTHER ALLEGBS"(continued)

PLAINTIFFS HOUNDED AND HARRIED FOR MORE THAN TWO DECADES

Far beyond the mere Rico and hundreds of civil rights violations,
Plaintiffs(mainly parents) systematically bounded and harried for more
than two decades, since Plaintiff Garner launched the "Free Tina Turner's
Babi€§" Cimpaign / "FRAMED BY DCFSI" with the international distribution
which followed the April l, 1995 release of such flyer/publication exposing
the "framing", kidnapping, Kangaroo courts, case "rigging", other crimes
committed by City of Chicago, Cook County, and State of lllinois corrupt
officials, along with naming names(Exhibit #131).

Instead of suing Plaintiff parents for libel.....which wasn't a viable
option because such publication facts were rife with truth, such Defendant
officials conspired to subject Plaintiff parents to inhumane emotional pain
of enduring four more additional kidnappings(1995, 1997, 1998, and 2004)
and at that point in 1995, such Defendant officials did begin their ongoing
enterprise and schemes

A scheme so extraordinary in breadth and scope, that affluent cunning
real estate mogul Defendant Coconise once opined that Garner's story should
be made into a movie and Cocomise may only be aware of half the ordeal,
since Cocomise mysteriously came out of nowhere to meet Garner in 2004 to
begin rendering dozens of high interest "juice" loans to Garner during the
past ll-years¢

Despite the ”scheme" manipulating Garner into a fraudulent August 2007 $l?OK
Resmae mortgage loan involving Cocomise that rendered the Lion's share $lOOK
check to Coconise that led to Garner being tied-up in five-year+(Exhibit #457)
Daley Center fraudulent foreclosure case(#OBCH34917) fought up to lllinois
Supreme Court(Google "Rosestone vs Garner) resulting in Defendant Kirchner‘s

illegal November lO, 2014 raid at subject property making Garner's disabled

 

 

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#3 Attachment:
"PLAINTIFF FURTHER ALLEGES"(continued)

family try to stay abreast of two federal cases in a homeless position
currently exacerbated by Defendant Glass' October B, 2015 false DCFS
report, Cocomise has manipulated himself into a position to collect
$500,000+ from any proceeds from federal lawsuits filed by Garner¢

For the record, Defendants Balin, Kirchner, Cocomise, and Glass,
all Defendant City operatives/moles, all have committed crimes, several
are felons, all are connected, all collectively have caused Plaintiffs
to lose more than 51,000,000, and all at one ooint, have tried to entrap,
involve, coerce, and or recruit Garner, in one way or another, with their
rich successful criminal enterprises that are aided and abetted by the
City and or Defendant Cook County.

In all fairness, Balin, Kirchner, Cocomise, and or Glass, may be
mere "pawns", who may have been victims themselves of the powerful cabal
of Defendant officials running the "scheme" for decades and may have
been coerced into harming Plaintiffs, in furtherance of "scheme“.

Indeed, while "scheme" had Garner entrapped/tied-up in 2004 Daley Center
bogus building court case for about three years, Garner heard City
attorney Stephen Peck seem to admonish Cocomise for lending Garner
money and this year, Cocomise complained that the City made him spend
an extra $lO0,000 above Cocomise's é-unit Ellis propertyo

The current reality is that, although Garner has never been convicted
of any crime by a jury of his peers, Garner is being forced again live
like the fictional character played by actor David Janssen in the 1963 TV
Series “The Fugitive" thanks to the "scheme's" existing DCFS investigation
based upon Glass' fraudulent october B, 2015~DCFS report.

Thus, Garner has been forced to do a lot of work on this complaint in

a vehicle, using a 40-year old(?) typewriter and

@

 

 

 

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#3 Attachment:
"PLAINTIFP FURTHER PLLEGES"(continued)

move around a lot more than necessary, because Plaintiffs must always
worry about the next illegal raid, due to the "scheme".

Therefore, this complaint, put together in piece meal fashion, is
is the best that the Plaintiff darner can do, under duress, and represents
not half of the allegations Plaintiffs could substantiate and add to
improve this complaint by amendment, if Plaintiffs allowed access to evidence
that may still exist therein vacant looted subject property being held by
Kirchner for a $27,000 ransom while deliberately not properly secured by
DAWGS/Glass and Plaintiffs receive services of honest competent qualified
lawyers, who would know how to properly ask the Court for the injunctive
relief Plaintiffs need to successfully prosecute Defendants without disruption
from the "scheme",

Moreover, well educated extremely crafty Defendant officials have
intentionally made this case big, unwieldly, and expensive, by executing
numerous kidnappings(1994, 1995, 199?, 1998, and 2004) of innocent babies

or toddlers, and continuing to commit many new crimes against Plaintiffs,
during such two decade period, as to'try to bury, the heart of this case,
which is that such Defendant had no legal grounds to kidnap four healthy
happy Plaintiffs on November 14, 1994(Exhibit #“B"], under a mountain of
lies, fraud; conspiracies, and other difficult to prove white collar crimes»

Thus, hoping and intending to make the case so big and complex, that
Plaintiff parents would never understand the Pscheme" attacking them, and
even if parents did figure out what was being done to them, such Plaintiffs
would never be in a position to afford to hire a lawfirm big`enough to file
a proper lawsuit to seek justice and redress for the damage done to ten
children and two parents.

Plaintiff Garner was delayed and blocked from filing this lawsuit for

 

 

 

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#3 Attachment:
"PLAINTIFF FURTHER ALLEGES"(continued)

two decades for various reasons mostly related to the "scheme"n

The delay was mostly caused by Garner being drawn into numerous cases
of fraudulent litigation, both civil and criminal, by the "scheme".

There was Garner tied up for five+ years in a foreclosure case set up
by Cocomise fraud, another three+ years in a building court case set up
by City fraud via Defendant Roberts two illegal 2004 raids at subject
property, another year+ in a bogus battery case by MB fraud in 2011, another
two years+ in bogus 1994 child neglect case set up by DCFS fraud, another
three years+ in probate case set up by Balins fraud via two forged deeds in 1994,
year+ in tax deed case set up by Balins fraud via perjury in 1998, another
three(?)+ years in juvenile court from 1994 set up by DCFS fraud,etc.

Thus, Plaintiff Garner subjected to about roughly Eight-teen years of
fraudulent litigation by Defendants in a Twenty-year period, not including
the two year+ fraudulent child endangerment case that forced Garner to plead
guilty to for the one and only time in Garner's 5 4 years on this earth
or about five years+ lost to Defendant State wrongfully closing numerous
valid complaints mostly related to "scheme"¢

Garner also was tied up(Exhibit #457) for about two-years around 1996
after Abraham contacted tenants that sued Garner and another year+ in bogus
eviction case set up by Rosestone fraud via perjury by Cook County Sheriff
Tom Dart's deputy{#llOBO) in 2013.

Therefore, Garner tied-up up for more than twenty-years of "scheme"
related, assisted, and or directly manufactured fraudulent litigation
in a twenty year period, without including any of Turner‘s fraudulent cases¢

In addition, fraud by Rosestone wrecked Garner's one and only
bankruptcy filed in 2012, in federal Court and "scheme" wrecked Garner's

2004 daley Center guardianship case about Turner, who had a nervous breakdown

in 2002 and 2004, due to "scheme".

 

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#3 Attachment:
"PLAINTIFF FUQTHER ALLBGES"(continued)

Upon information and belief, Defendants, including but not limited
to lllinois via JCFS representatives James, Garrett, unknown supervisor9
unknown worker, Cook County via assistant states attorney Abraham, via
public guardians Vera, Petersen, Caaares, Daskal, Robbins, Chicago via
Chicago Police unknown cop-*l, unknown cop-#Z, juvenile court coordinator
Lund, Illinois via AROC Kuller, private lawyers Pox and Brunn, all named
conspirators in the aforementioned herein April l, 1995-publication(Exhibit
#131), did initiate-ongoing enterprise and scheme described herein this
complaint that has repeatedly, by various means including recruiting additional
Defendants over two decades, caused serious injuries to Plaintiffs, and
continues to cause Plaintiffs to incur ongoing costs for defending against
the continued enterprise aimed to first expel Plaintiffs from subject property
to financially ruin Plaintiffs and destroy a large amount of evidence to help
cover-up this extraordinary case with potential unprecedented damages¢

Over more than two decades, the ever escalating "enterprise" subjected
Plaintiff parents to endless distracting disruptions,'numerous conspiracieso
and civil riohts violations, all designed to forever prevent such Plaintiffs
from ever having the wherewithal(evidence, time, money,etc] to file this case»

Thus, accordingly, "enterprise" expanded to include Defendants, but not
limited to lllinois via DCFS Moore, via ARDC Larkin, Greggio, Abbatemarco,
Cesariog via Attorney General Lipski, unknown workerl via IDHR Claps,
Galbraith, Cook County via Sheriff Dart, deputy-#llOBO, unknown Sheriff
attorneyit Vournazos, Cramer-star#$OéO, Gercone~star#ZZl, unknown deputy-#l,
unknown deputy-#Z, former deputy Bey, Chief Judge Evans, Kelly, Rosemary,
Stroger Hospital, unknown worker, Chicago via law department Roberts, former
Mayor Daley, Chicago Police Cline, Bartik, James Dowling, Strand-#2657, Ortiz,

cop-#18692, unknown cops-#'s 3-7, private lawyers via Thomas More Society

 

 

 

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#3 Attachment:
"PLAINTIFF FUQTHER ALLEGES"(continued)

unknown attorneys-#l, #2, Chertkow, Smith, Silvernnn, Ward, Qowells, Nevel,
private entities gosestone, Domain, Swap, PC, MB, individuals via Balin,
Spearman, Davis, Kirchner, Cocomise, Edwards, unknown CTA bus driver,
unknown lawyer, Revis, Illinois via ICC unknown workers-#l, #2, #3,
additional private entities Cigna, Hartford, Brothers dubmarine, and
Brothers Food, that all conspired with "enterprise" to injure and harm
Plaintiffs in various ways, including but not limited to financial damage
caused by theft, false reports, executing illegal raids, filing time
consuming fraudulent litigation, harassment, and or obstruction of justice
via perjury, conspiracy to destroy evidence, intimidation of witnesses,
conspiring to rig litigation, ignoring valid Plaintiff complaints, commiting
mail fraudl wrongfully closing Plaintiff complaints to cover-up crimes
committed by those favored by ”enterprise", and other crimes°

Plaintiff James Garner was living st subject property with about 4,000
square feet including basement plus attic, with multiple vehicles, with no
criminal convictions, with a library of mostly law plus business books, had
won two civil lawsuits in state court, operated/managed successful businesses,
had never used any illegal drugs, smoked, or drank alcoholic beverages, and
in 1991, Garner took newborn Plaintiff JL Garner to Cook County Hospitalg
where he was born in 1961g where Lorand filed one false report with DCFS,
that like the domino theory.......led ultimately to this federal complaint.

It is fact, that Garner, an undefeated high school chess champion in
tournament play, undefeated in judicial contest, and Executor of his late
father's estate with numerous properties in 1994, all of a sudden, after
Garner's release of the aforementioned april l, 1995 publication(Exhibit #131),
became a loser of a criminal case, a loser of numerous Daley Center civil

cases, a loser in numerous complaints filed with Illinois regulatory

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#3 Attachments:
"PLM'JTIF‘F Fl."zTHER ALLBGEs"(continued)

agencies(Defendants IDHR, ICC, ARDC,etc), lost five children Plaintiffs

via four additional kidnapping incidents between 1995-2004, lost more

than six Estate properties, lost subject property with a 2005 value

of 5300,000, lost a 2012 federal bankruptcy case, and Garner, a carpenter
trained in his late father‘s H, Garner and Sons construction company and

a self trained consultant, is presently about $600,000 in debt, all

because Garner exercised his First Amendment right under the Constitution

to protest being "framed" seemingly more times than artist Leonardo da Vinci's
"Mona Lisa" and more importantly, justifiably refuse to make any deal with

the criminals that could kidnap innocent babies to execute their modus

operandi "code of silence" cover-ups, so rampant, in corruption rife Illinoiso

JUDICI%L ECONOMY

ln interest of judicial economy, this Court should be aware that all
three previous federal cases filed by Plaintiff Garner, including the two
currently pending actions, all were the result of the "enterprise" and thus

Plaintiffs would not object to the older cases being consolidated with

this case, if possibleo

 

 

 

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#4 Attachment:
"PLAINTIFF FVZT¥ER ALLE$ES UIA APDITIONAL NUMBERED ATTACHHENT"

'rnis part cf complaint created on computer lap-top seized by
)efendant Sheriff Dart, during illegal November lO, 2014 raid
Jue to time contraints and present

(NPTE:

ar subject propertyl

_exigent issues created by "enterorise", Plaintiff§ W?s not
in a position to re-type this portion of complaint.}

P l CY
Rl T AN RIC Tl

Plalntlffs, for their complaint against the above-named Defendants,

alleges as follows
JLJR|SQI_§; | lQN AND VENL_lE

1. Thls Court has federal question jurisdiction over this action
pursuant to 28 U.S.C. 1331 because Plaintiffs' claims arise under the Unlted

States Ccnstltution, the federal Racketeer lnfluenced and Ccrrupt Organizations

Act (18 U.S.C. 1961 et seq.), and 42 U.S.C` 1983 and 1985

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2. Venue is proper in this judicial district under 28 U.S‘C. 1391(b),
because the parties reside in or formerly resided in this judicial district and the
events giving rise to the claims asserted herein occurred here as we|l.

NATL!BE QE §§ l lQN

3. This case arises out cf an ongoing enterprise and scheme initiated
by representatives of the City of Chicago and Cook County, more than
2-decades ago, which eventually included, but was not limited to, the State cf
lllinois, Gl|bert Balin, MB Financla| Bank, and A|lan Kirchner, that is aimed at
both ousting Plalntlffs from their ownership, use, enjoyment and ability to
develop the property located at 5114 Sl Damen Ave., Chicago, |l|inois( the
“Prcperty”), where Plaintiff ..IH Garner(Garner) once took in boarders and had
ten P|aintiff children, who have all been subjected to severe harm by
aformentioned scheme and Defendants conspiracy; The enterprise against
Plaintiffs is also a concerted effort by Defendants to keep Plaintlffs in constant
financial straits over decades of using fraudulent harassing endless litigation, in a
pattern of racketeering activity, to drive P|aintiffs from the Property, prevent
P|aintiffs from being able to timely sue and or maintain a suit and violate
P|aintiffs constitutional rights perpetuated by, among other things:

i.) 1989, Chicago Police Offlcers and Cook County State‘s
Attorney, conspired to attempt to frame Plaintiff for bogus unlawful restraint
charge, after Ofl“lcers executed false arrest of Garner at the Property.

li.) 1991 , After Garner took newborn son Plairltiff JL Garner(JL)
to Cook County Hospital, Defendant Lorand lodged false report to DCFS and

conspired with Defendant Cook County State‘s Attcrney to have a wrongful
warrant issued to seize JL and Turner.

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iii.) 1992, upon information and belief, convicted felon
Defendant Balin conspired with Cook Ccunty officiais and tried to use bogus tax
deed case to steal the Property from Garner.

iv.) 1994, Balin filed cr caused forged quick claim deeds to be
filed at the Cook County Reccrder`s oche and stole 3-properties from Estate of
Henry Garner, whose Executor was P|aintiff Garner.

v_) 1998, in retaiiation for Garner refusing Defendant Balin’s
Court houseiDaley Center bribe and insisting upon a citation of Balin, Balin
committed perjury in a tax deed case_. such fraud induced Court to give Balin a
tax deed for the Property, Balin sent Defendant Kirchner to break-into the
Property, and demand that Garner call Balin's office to work something out,
because the “cid gavel" had fe|l.

vi.) 1999, Garner had Balin’s tax deed vacated because Balin’s
fraud!pei]`ury was revealed tc the Court and Garner made a police report against
Balin’s goons, except Kirchner, because Klrchnei’s name was unkown.

vii.) 2003, Defendant City of Chicago filed a fraudulent housing
court case against the Property, but did not name Garner in such action.

viii.) 2004, Defendant City cops, came to the Property and took
two cf Gamer’s children(ages three and four), to a known drug involved child
raping family, despite Garner requesting that cops ignore mentally disabied mom
and call a sergeant

ix.) 2004, Defendant MB indicated that MB wanted to acquire
the Property tc expand; When Garner indicated he was not intrested in selling,
Defendant illegally raided the Property and stcie about 15-vehio|es from P|aintiff.

x.) 2004, after Garner complained to Defendant City about theft
of vehicles, City attorney Mr. Jason Morgan Robeit’s retaliated with a second
raid to obtain illegal evidence, and instantly evicted Garner’s family from the

Property.

xi.) 2004, Defendant Cocomise suddeniy appearedl begin
making unjust ioans to Gamer, repeatedly pressured Garner to sell Property to
MB. and Cccomise soon wrongfully filed documents with the Cook County
Recorder`s office to steal the Property, after Garner had rejected MB’s $130,000
written offer initiated in a Daley Center hallway, when Garner made initial
appearance on City bogus 2003 housing code case used to repeatedly steal
from Garner.

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xii.) 2006, Defendant Cooomise continued to pressure Garner to
sell to MB, when Cooomise told a City building inspector that the City was after
Garner. City inspector told Cooomise that the Property was not supposed to be
iri “Demo” court

xiii.) 2007, Defendant Cooomise conspired with the City to coerce
Garner into making a $173.000 Resmae loan, that Cooomise knew Garner
couldn’t afford. Cooomise and City committed mortgage fraud tc make sure
Garner got the loan that would doom Garner to face foreclosure

xiv.) 2008, Cooomise agreed to give Garner new |oans, used
Garner’s consulting work to secure a roughly $250,000 loan on a Dorchesterl
Cocmise reneged on giving Garner loans, caused Garner to file federal
complaint Cooomise lied to government to get the investigation clcsed, and
caused Garner to default on Resmae loan.

xv,) 2008, Defendant Nevel filed a fraudulent foreclosure action
against Garner. on behaif of Aurcra l_can Services and Neve|, upon information
and belief, conspired with Defendant Cook County, Defendant Evans, Defendant
Kirchner, Defendant Dart, and Defendant Cify, to steal the Property in
"Kangarco‘1 Daley Center courtrooms without court reporters, during an
exhausting 5-year-fcreclosure case that was fixed all the way up to the Illinois
Supreme Court, who declined to hear foreclosure case in June 2014.

4. The Defendants‘ conspiracy has caused serious injury to P|aintiffs,
and continues tc cause P|aintiffs to incur ongoing costs for defending against the
continued enterprise aimed to expel Plaintiffs from Property

5. Garner has continuously owned and or occupied the Property for
about twenty-five years. He also speaks and communicates freely and honestly
tc the press, actively making his views visible and noticeable to the community
and Defendants. As a result Garner “has been on the Defendants radar" for
neariy 25 years“, as a targeted businessman and property owner, as cf this year.

6. May 31, 2014, Defendant Kirchner confirmed and confessed to
targeting Garner for more than a decade, during a one on one 45-minute high
noon meeting with Garner, ata Chicago northside Mc Dcnald’s fast food
restaurant After Kirchner confessed to many crimes, pledged to make a deal to
return deed of the Property to Garner and called Garner a genius, Kirchner tried
tc coerce and entrap Garner into committing crimes to unjustly enrich Kirchner
and conspirators

6, The Defendants modus operandi has stayed the same over

decades Each time Garner takes a public stand and exercises his right to free
speech, files a complaint or files a pleading to protect his rights, enterprise

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conspirators lash out and abuse their authority by a spiral of increasing

harassing bogus litigation and or criminal threats aimed at subjecting P|aintiffs to
endless crippling distracticns and further financial ruinaticn, just to name a few of
the tactics from Defendantsl over decades

7. Ju|y 11, 2014, it came as no surprise that Kirchner called P|aintiff
Garner and subjected P|aintiffs to mob style intimidating threats which included,
threats of another illegal break-in, another illegal eviction, and arson at the
Property, after Garnei”s appeal attorney Stephen Sapporta filed a pleading with
the l|linois Supreme Court to try to vacate the wrongful foreclosure that the
enterprise used to steal the Property deed in 2012. |ndeed, through the miracle
of the |nternet, anyone can vist YOUTUBE channel TriSunTV?-Exhibit 701 and
hear Kirchner declare that his mob style criminal threats are off the record and if
such crimes are brought into a Court of iaw, he will just deny his threats

8. The pattern has been the same, for more than 2-decades. the
enterprise conspirators have repeatedly found ways to severely harm P|aintiffs
with retaliation, whenever Plaintiffs would take any action to resist their
racketeean activities try to get in a position to file a lawsuit against them, or
merely try to make personal life improvements

1939 FAQT§

9. 1989, Chicago Pclice officers came to the Property, while Garner
standing in docrway. Cops called Garner over to police car, Garner was
searched, Garner had legally owned gun (44cal), and Garner taken to 9th-district
station; Where homeless assistance group workers who weren*t allowed to
enter the Property to see a former female client, retaliated by manipulating
disabled fema|e, conspired with ccps, conspired with Cook County State‘s
Attorney and try to frame Garner for unlawful restraint of female, at 9th district
police station Conspirators abandon bogus restraint charges after Cook County
Hospital wristband proves Garner was emergency room patient accompanied by
two women, one of whom was alleged restraint victim. Conspirators then,
confiscated Garner's handgun, jailed Garner on bogus UUW-charge, even
though cops had requested that Garner come outside of the Property to answer
questions about disabled female. Garner forced to appear at hearing, made
motion to suppress was exonerated again from the second bogus UUW within
7-years, and was forced to again pick-up handgun from Cook County Jai|
basement per Court order.

J£BD_EMJ'_S

10. 1990, Crimina|s were breaking windows at the Property and when
Garner's family went to ch-district police station for helpl Defendant Citylcops
indicated that they knew family had a rooming house and rudely told family to
leave station, without making a police report or offering any assistance Thus,

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enterprise continues pattern of racketeering activity, by subjecting Garner to a
SECOND incident cf expensive harassing fraudulent litigation and or blatant
violation of Garner’s constitutional rights, since aforementioned 1989 UUW
arrest

1991 FAQIS
11. August 4, 1991, P|aintiff JL Garner(JL) was born to P|aintiff Turner.

12. September 6, 1991, JL seemed to have a fever. Garner took JL
and Turner to Cook County Hospital, where Lcrand indicated JL had a slight
fever and was healthy After Lorand began asking Turner improper questions
and became rude with Garner, Garner left hospital with JL and Turner. Garner
took JL tc another hospital1 who also indicated JL was healthy. Unbeknowst to
P|aintifis, Lorand made a false report to DCFS, who conspired with Cook County
State’s Attorney, to use an ex parte hearing tc obtain a bogus Juvenile Court
order that indicated JL needed emergency medical treatment Thus, enterprise,
continues pattern of racketeering activity, by subjecting Garner to a TH|RD
incident of expensive harassing fraudulent litigation and or blatant violation cf
Garner’s constitutional rights, since aforementioned 1989 UUW arrest.

LLQ_QZ_EM

13. October 10, 1992, P|aintii'f April Tina Garner(A`l') was born to
Turner. JL lived a happy healthy life with his baby-sister.

14. 1992, upon information and belief, convicted felon Defendant Balin
had his attorney Steven chrofsky file a tax deed case. conspired with Cook
County officials and tried to use bogus tax deed(case-#QZCOTDSHSS) to steal
the Property from Gamer. Thus, enterprise continues pattern of racketeering
activity, by subjecting Garner to a FOURTH incident of expensive harassing
fraudulent litigation and or blatant violation of Garner's constitutional rights since
aforementioned 1989 UUW arrest

lQ_Q_$_EA§_`[§

15_ May 25, 1993, After a Daley Center hearing, Garner prevailed
over Balin and Garner kept the Property,

16. 1993, JL continued to live a happy healthy life with his baby sister
AT.

1995_§8_0_`|`_&

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18, February 18, 1994, twin Plairitif'fs James Richard Garner(JR) and
Henry Nlalcom Garner(HNl) were born to Turner

17. Septernber 15, 1994, Garner’s much revered father Henry Garner
died; Per father's last wishes Garner‘s 3-disabled(?) half siblings(Phillip
Garner-M-years?, LaSandra Gamer-i$-years?_. & Latresa Gamer-f2-years?)
came to stay at the Property, and Garner was independent Executor of father's
estate

18. October 29, 1994, a small fire at the Property, in 1-tirst floor unit cf
4-unit house, and Garner arrested for bogus child endanger lifeihealth of childr
upon Garner’s return to the Property Disabled alleged victim Latresa Gamer,
who was taken to hospital in DCFS custody Cook County State’s Attomey,
Chicago police officers and DCFS manufacture false reports like falsely stating
Latresa had been left home alone when fire started, despite fact that Turner and
Gamer's twin infant sons were also in the Property, Although Latresa was
asking to see Gamer. enterprise conspirators held her hostage and hid away
from Gamer. Thus, enterprise continues pattern of racketeering activity by
subjecting Garner to a dose/incident of expensive harassing fraudulent litigation
and or blatant violation of Garner’s constitutional rights since aforementioned
1989 UUW arrest

19. On November14, 1994, around 10:45a.m, while Garner was still in
mourning because of the death cf his late father, trying to repair the minor fire
damage, trying to find legal help to free Latresa, and still upset over false arrestl
relentless enterprise conspiratorsiChicago cops and DCFS illegally broke-in(fire
department cut lock) front door to raid the Property, DCFS l_ome Garref &
Kennedy James, who allegedly oniy had stale three-year old 1991 -juvenile Court
order for temporary custody of JL. Cop told Garner to either give them JL or all
children would be taken.;

20_ Clearly, JL didn‘t need emergency medical care, three years later.
Moreover, the 1991 Court order gave Cops no authority to break-in, raid,
threaten, and immediately retaliate, by taking everyone from the Property;
Thus, such November 14, 1994-conduct at the Property, which included
kidnapping babies, from representatives of the City of Chicago and State of
|l|incis, represents a second incident of racketeering conductI that Garner was
subjected to, since acquiring the Property in 1989;

21. Cops search all four units cf the Property without a proper warrant,
took riine-people{3-aduits[inciuding Aprii Kiliiebrew] & 6-mincrs) from subject
property to police station and nine people were detained for about ?-hcurs or
more without charges Adults intorrogated, humiliated, and threatened with
arrest for obstruction Food, infant formu|a, and water with-held for hours from
4»babies(Ji_-3 years AT-2 years, 8 twin infant boys[i-iM-?-months & JR]) and

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other 5-detainees, who were told not to move from room with hard benches,
Mirandi rights weren't read, no phone calls allowed. and bathroom use with-held
for hours(about 2), even though Turner was pregnant Cops screamed at small
children took JL outside of room without parents permission and misspent
Garner‘s money on fccd. Around 3:20p.m, Garner was allowed to call an
attorney on police phone, and Garner was advised to remain silent, ask to be
charged or freed.etc. The attorney called the station, talked to watch
commander, then called Garner about 4:30p.rn, told Garner that Commander
had stated that they were not going to charge anyone or free anyone, until other
DCFS officials arrive;

22_ ln clear retaliation for exercising constitutional right to remain
silent, enterprise conspiratorsiCook County State's Attorney, DCFS, and cops
conspire to frame Garner, Turner, and Killiebrew for multiple counts cf bogus
child neglect after DCFS had ordered raid with only the authority of a stale
secret ex parte 1991 juvenile warrant alleging JL was in need of emergency
remain silent as to which child was whichl Defendants in retaliation transported
nine people to police station without charges P|aintiffs unlawfully detained in
police station for hours without charges, food, or water, and thenl Defendants
decide to frame three adults with multiple misdearneanor child neglect charges
manufactured with false police reports to create grounds to kidnap Garner’s
4-babies and two teenage half-siblings(Philip and LaSandra Gamer). Thus,
enterprise continues pattern of racketeering activity, by subjecting Garner to a
SlXTH incident of expensive harassing fraudulent litigation and or blatant
violation cf Garner’s constitutional rights, since aforementioned 1989 UUW
arrest

23. November 15, 1994, Garner released from bogus child neglect
arrest, returned to the Property, Turner's child-abusing step-father Henry
Hickman threatened Garner during phone calll Garner made police report,
Chicago Cops arrest Hickman at 5331 S. Laflin, Cops told Garner to come to
9th-district station to sign complaint and after Garner arrived, Cops tell Hickman
to press charges against Gamer. Once again racketeering representatives
from City of Chicago conspire with criminal Hickman to target Gamer. who was
wrongfully lured into an unjest arrest on bogus assault charge manufactured at
the 9th-district station Therefore, within hours cf suffering inhuman emotional
distress of having 4~babies kidnapped by enterprise and being released from
wrongful jailing, Garner was again wrongfully held in jail for many grue|ing hours
and |ater, after Garner forced to appear at hearing, Garner was again exonerated
from bogus assault charge, orchestrated by Chicago Cops Thus, enterprise
continues pattern cf racketeering activity, by subjecting Garnerto a SEVENTH
incident of expensive harassing fraudulent litigation and or blatant violation cf
Garner‘s constitutional rights since aforementioned 1989 UUW arrest

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24, December 1994, While Garner was being overwhelmed by the full
weight of the three levels of racketeering government conspiring against
P|aintiffs and also while Balin may have been on federal probation(cnminar
case#QOCR0964[USA v. Gr'ibert Balin and Matfr`e Spearrnan]) for ripping off HUD,
Balin manufactured two bogus quick claim deeds forged Garner‘s late fathers
signature twice and looted the Estate of Henry Garner, cf three buildings which
would become worth hundreds of thousands of dollars each between 1998
through 2008. Balin‘s bogus deeds where filed in the Cook County Recorder's
Oflice. with the criminal friendly Cook County government who deliberately
maintains and ccndones easy house stealing systemic aid and abet connected
white-collar pay to play real estate racketeers like Balin and Kirchner. and
clearly represents an incident of racketeering conduct Thus, enterprise
continues pattern of racketeering activity, by subjecting Garner to an EiGHTH
incident of expensive harassing fraudulent litigation and or blatant violation of
Gamer’s constitutional rights since aforementioned 1989 UUW arrest

1995 FA§; 13

25. On Apri| 1, 1995, Garner released 4-sheet/8-page flyer("Free Tina
Tumer“s Babi`es- Campar`gn”[naming some of the corrupt government
officials{Cook County Guardians i_uis l/era, Erika Pefersen, Ricardo Cazares_.
Meryi J, Daskai, & i.esiie Robbins,' mole bar attorneys Robert F. Brunn &
Michaei Fox; Court Coordinatcr Mary i_und; assistant states attorney Abigail
Abranam, and ARDC Counsel Alfnea J. Kuller} involved, telling the story and
naming the white-collar liars who buried 7-babies under years of calculated
iies.etc]), following up nation-wide letter-writing campaign(White House,
newspapers ACLU,etc)l street protest, and making people aware of
unconstitutional Cook County Juvenile Court system. Thus, accused murderers
in I|linois, have more rights than accused parents An accused murderer faces
a States Attorney and if they win the case the accused murderer goes free An
accused parent faces a States Attorney, and if they win the case the accused
parent must find funds to pay another lawyer to go to Juvenile Court to face
3-different lawyers(r`ncluding States Attomey, Publi'c Guardr'an, DCFS,etc) and
win or your children can stay incarcerated in dangerous DCFS dungeons.
Therefore, Garner has been incarcerated for almost 2-decades, along with seven
of Garner‘s children Tina Olson(who was striving for the return of her son from
City of Chicago Alderman Ed Burke) told Garner(who was a member cf Ms.
Oison’s group] that she saw Garner’s flyer posted on a government agency
bulletin-board in Juvenile Court Offering further proof that Garner has been
targeted by enterprise for decades By design iri addition to fraudulent
litigation, enterprise also attacked Garner’s financial wherewithal, making it
impossible for Garner to defend himself from gang of lying Juvenile Court
lawyers who enjoyed protection of endless cover-ups by ARDC lawyers who are
charged with the responsibility of investigating wayward lawyers that violate the
illinois Rules of Professional Conduct. With almost nowhere to seek justice in

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corruption rife racketeering lllinois governmentl Garner turned to his
lsi-amendment rights and the enterprise escalated their level of retaliation
Thus, enterprise. continues pattern of racketeering activity, by subjecting Garner
to a NlNTH incident of expensive harassing fraudulent litigation and or blatant
violation of Garner’s constitutional rights. since aforementioned 1989 UUW
arrest

26. On April 6, 1995, the estate(#95P2285) of Garner’s father Henry M.
Garner was open, the Court appointed Garner as independent Executor, and per
aforementioned racketeering conspiracy, Garner’s ability to focus on executing
estate business was being interfered with.

27. Ori June 17, 1995, P|aintiff Tina Abigail Garner(TA) was born and
in less than a couple of months, Garner’s daughter was personally kidnapped in
the old Dcrnestic Court(13tn & Michigan) hallway by Cook County Assistant
State's Attorney Abigail Abraham, when Garner and Turner arrived to face bogus
1994 child neglect charges, that were soon droppedl as Garner’s
tst-amendment campaign gained momentum, for examp|e, gamering a letter
from the White House. This kidnapping was both in retaliation for Garner
exercising ‘lst Amendment right, in furtherance of conspiracy related to
aforementioned enterprise and yet another incident of racketeering conduct
from the Cook County State's Attorney. Thusl enterprise continues pattern of
racketeering activity, by subjecting Garner to a TENTH incident of expensive
harassing fraudulent litigation and or blatant violation of Garner’s constitutional
rights, since aforementioned 1989 UUW arrest

28_ 1995, ln furtherance of racketeering conspiracy, Enterprise
conspirators/Cook County State’s Attorney and DCFS, conspire to separate,
isolate, and coerce Garner’s 3-disabled half-siblings into allegedly making false
statements against Garner, interfere with Gamer`s legal funding souroe,etc.

JQQE_EAQLS

29. 1996, Cook County State's Attorney and DCFS, conspire to subject
Plaintiffs to unfair unconstitutional Circuit Court of Cook County juvenile
“i<angaroo" court hearings, where Plaintiffs denied a jury tria|, denied un-biased
legal representation faced unjust “double-jeopardy" of having to prevail against
criminal charges, and then, having to prevail against juvenile court charges
Moreover, both criminal and juvenile charge hearings are being held in different
locations causing unfair impossible expense for indigent parents Furthen'nore,
parents must also face 3 or 4 government agencies in the juvenile Court
hearings, including the aforementioned above herein Cook County Public
Guardians, DCFS, Cook County State’s Attorney,etc. Despite having access to
medical records that proved Piaintiff JG’s 4-babies were completely healthy

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when kidnapped, DCFS demanded that parent P|aintiffs take parenting classes
to help enterprise conspirators cover-up frame-up and kidnappings OR face cruel
and unusual inhumane heinous punishment of never getting custody of 4-babies
again

30, Unbeknovvnst to Garner, Garner’s defense attorney was under
ARDC penalty when hired, Garner arrested for being late to 1996-hearing and
Garner held in jail without bond by Cook County Judge James Linn. until Garner
hired another attorney that made guilty plea deal with Cook County State’s
Attorney, Without kidnapping Garner’s 3-disabled teen siblings against their wili,
isolating such siblings from Garner and other wrongful tactics, conspirators would
have never secured the only conviction in Garner’s life.

31. At this point, upon information and belief, Chicago Cops broke into
the Property and stole four handguns from Garner, while Garner was still in
custody, due to Judge Linn’s wrongful order. lt is highly unlikely that burglars
would bypass more expensive professional camera and video tape equipment
while taking only guns that were stored in the same cabinet

32. Around 1996, Garner began to be aware that his family was being
subjected to a systematic attack, which included being targeted by various State
of illinois agencies. including but not limited to the ARDC and the lllinois
Department of Human Rights(lDHR); Cook County agencies, including, but not
limited to Cook County Circuit Court, Cook County States Attorney, Cook County
Public Defender, and Cook County Pub|ic Guardian; and the City of Chicago
agencies including, but not limited to the law department 9th-district police,
buildings department water department and streets & sans department

33. Around 1996, on information and belief, Abraham contacted
tenants of an estate property(1156-58 W. 63rd Street, Chicago lllinois),
controlled by Executor Garner, and coerced and or conspired with tenants to
distract Garner from his legal fight to free his children and terminate the payment
of about $2.000 in monthly rent payments mainly used as legal funding Thus,
assured of a favorable outcome, both tenants sued Gamer. enterprise
orchestrates new litigation to subject Garner to, a Daley Center Cook County
Judge ruled against Garner, and such rent payments ended, until a judgement
was resolved Thus, enterprise, continues pattern of racketeering activity, by
subjecting Garner to a ELEVENTH incident of expensive harassing fraudulent
litigation and or blatant violation of Garner’s constitutional rights, since
aforementioned 1989 UUW arrest

34. Around 1996, Cigna insurance executives arrived ata settlement
meeting, to settle a discrimination complaint about Cigna`s failure to pay a
roughly $S0,000-loss claim, fried by Garner with the |DHRl Garner arrived
minutes late because such meeting was scheduled on same day as a hearing for

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bogus 1994- child neglect charges and |Dl-IR refused to reschedule such
settlement meeting Under great stress from enterprise Garner had no time to
find a lawyer to collect such settlement from Cigna. So, Garner lost, at least
$30,000, due to the racketeering enterprise Thus, enterprise continues pattern
of racketeering activity, by subjecting Garner to a TWEl..FTH incident of
expensive harassing fraudulent litigation and or blatant violation of Garner’s
constitutional rights since aforementioned 1989 UUW arrest.

1_9_9_7_EAQlS

35. January 14. 1997, P|aintiff James Julius Garner(JJ) was born to
Turner at Mercy Hospital Hospital and DCFS conspired to kidnap Garner‘s
infant son, just hours after JJ was born. This kidnapping was both in retaliation
for Garner exercising 1st Amendrnent right, in furtherance of conspiracy related
to aforementioned enterprise and yet another incident of racketeering conduct
from DCFS and the Cook County State's Attorney. Thus, enterprise continues
pattern of racketeering activity, by subjecting Garner to a TH|RTEENTH incident
of expensive harassing fraudulent litigation and or blatant violation of Garner’s
constitutional rights since aforementioned 1989 UUW arrest.

36. 1997, around this time after GarneriExecutor had rejected Balin’s
August 8, 1996-Daley Center hallway bribe in front of estate attorney Glenn
Chertkow to replace property stolen from estate and reward Garner with a
lucrative position in Balin’s real estate racket, if Garner would only close estate
cheat his siblings betray Garner’s revered late father's wishes and cancel
citation of Balin about the forged deeds Upon information and beiief, convicted
felon Defendant Balin had his attorney son Timothy Balin file a tax deed case
conspired with Cook County officials and tried to use a SECOND bogus tax deed
case(-#Q?COTD80821) within 5-years, to steal the Property from Garner, for the
purpose of intimidating witnessiGarner to aforementioned forged deeds and
coercing Executor to violate his fiduciary duty to seek the return of the stolen
three properties Thus, enterprise continues pattern of racketeering activity, by
subjecting Garner to a FOURTEENTH incident of expensive harassing
fraudulent litigation and or blatant violation of Garner‘s constitutional rights since
aforementioned 1989 UUW arrest

1 FA

37. On October 7, 1998. Piaintiff Hillary Latoy Gamer(HL) was born at
what is now known as Rush University Medical Center with a breathing problem,
doctors tried to send Garner’s daughter horne on an air machine Garner wanted
a second opinion, and refused to take HL horne in that condition, especially while
the Property was under attack by enterprise Hospital and DCFS conspired to
kidnap Garner’s infant daughter. Garner’s daughter kidnapped by State of
lllinois(DCFS)l Court guards tried to start a fight with Garner, and Garner learned

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that the Cook County State's Attorney and or DCFS had falsely alleged that
Garner‘s daughter was born with cocaine in her system, lab tests confirmed that
cocaine allegations were bogus `l`his kidnapping guard intimidation, and yet,
another frame-up attempt, were both in retaliation for Garner exercising ist
Amendrnent right, in furtherance of conspiracy related to aforementioned
enterprise and yet another incident of racketeering conduct from DCFS and the
Cook County State's At'torney. Thus, enterprise continues pattern of
racketeering activityl by subjecting Garner to a F|FTHTEENTH incident of
expensive harassing fraudulent litigation and or blatant violation of Garner’s
constitutional rights since aforementioned 1989 UUW arrest.

38. December 171 1998, Balin committed perjury before Honorable
Cook County Daley Center Judge Bernetta D. Bush to induce her to give him
1998 tax deed to the Property, after an enterprise orchestrated ex parte hearing,
unbeknownst to Gamer. Thus, enterprise continues pattern of racketeering
activity, by subjecting Garner to a S|XTEENTH incident of expensive harassing
fraudulent litigation and or blatant violation of Garner’s constitutional rights since
aforementioned 1989 UUW arrest

39. ln 1998, Garner bought insurance and paid timely monthly Hartford
insurance premium payments about 8-months before a big fire at the
aforementioned 1156-58 W. 63rd street-property `l'enants insurance
companies paid the tenants for fire losses Hartford paid $10,000 against
hundreds of thousands in damages Garner’s lawyer filed $YS0,000-lawsuit
against Hartford in Daley Center, Garner’s lawyer disappeared Garner’s case
was dismissed, and the Daley Center Judge never notified Garner that Garner‘s
lawyer failed to appear and that the case was dismissed around 2000 Under
great stress from enterprise Garner had no time to properly monitor or keep
track of case and to timely find a lawyer to collect compensation from Hartford.
So, Garner lost about $740,000 and would soon lose the 63rd street property,
that had been in Garner’s family for about 25-years .......... an additional $250,000
loss due to the racketeering enterprise Thus, enterprise continues pattern of
racketeering activity, by subjecting Garner to a SEVENTEENTH incident of
expensive harassing fraudulent litigation and or blatant violation of Garner’s
constitutional rights since aforementioned 1989 UUW arrest.

1999 EAC IS

40. March 3, 1999, Balin’s buffer co-felon Matlie Spearman sent
goons, including Femando Rivas to commit criminal damage(break»down front
door of subject property), trespass and deliver threatening intimidating message
to Executor Garner, whose estate lawyers had already scheduled a May 10.
1999-Citation of Balin about aforementioned 2-forged deeds filed at the Cook
County Recorder’s office in December 1994, a few months after Garner’s father
died. One of Balin’s goons said that a Daley Center judge had “dropped the old

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gavel" giving subject property to Balinl subjected P|aintiffs to extreme emotional
distress subject Garner to threats and directed Garner to immediately call
Defendant Balin’s office at 100 N. LaSalle. lnstead, Garner called estate
lawyers who filed an emergency motion in Daley Center, that led to subject
property being returned to Garner on May 5, 1999 via Honorable Judge Bush’s
order and Garner made a police report(rd#-CE550671) against Spearman and
one of the goons(i?ivas)l which led to criminal hearings at Branch 34(155 W.
51st) against Spearman and Rivas(99M01234002). Garner recalls Cook
County Assistant State's Attorney Anita A|varez protecting and failing to
prosecute Spearman, after Garner was forced to spend money appearing at
numerous hearings at Branch 34 that Spearman failed to appear, no warrant
was issued, the case was dropped. Garner got no justice lost about $2,000 in
property damage and all this proves that Balin has clout with the City of Chicago
and Cook County. Garner contacted Cook County State's Attorney officials
about Balin’s crimes and such officials failed to intervent, wrongfully protecting
enterprise members Balinl Spearman, Rivas and Kirchnerl who would |ater(May
31, 2014) admit that he was one of Balin’s goons who broke-into the Property,
and this interfered with Garner’s ability to tile a lawsuit against Balin to recover
damages Thus, enterprise continues pattern of racketeering activity, by
subjecting Garner to a E|GHTEENTH incident of expensive harassing fraudulent
litigation and or blatant violation of Garner‘s constitutional rights since
aforementioned 1989 UUW arrest.

41. November 27, 1999, Plaintiff James Amistad Moses Garner(JA)
was born to Turner at Michael Reese Hospital Thus, JA has been wrongfully
deprived of knowing most of his older brothers and sisters due to this ongoing
pattern of monsterous racketeering activity, described herein

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42. January 13, 2000, Garner was still being induced to appearfutileiy
at monthly criminal hearings for Spearrnan1 who never bothered to appear
Under great stress from enterprise Garner had no time to find a lawyer to collect
compensation from Balin. So, Estate of Henry Garner lost hundreds of
thousand of dollars due to the racketeering enterprise Thus, enterprise
continues pattern of racketeering activity, by subjecting Garner to an
NlNETEENTH incident of expensive harassing fraudulent litigation and or blatant
violation of Garner’s constitutional rights since aforementioned 1989 UUW
arrest.

43. September 14, 2000, Executor Garner received a ietter from Cook
County Assistant State’s Attorney Michael C. Prinzi that indicated that Cook
County would not prosecute Balin for the aforementioned 2-forged deeds and
invited Garner to go after Balin via a civil action.

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41. January 5, 2001, Plaintiff James Edward Socrates Garner(JE) was
born to Turner at Michae| Reese Hospital Thus, JE has been wrongfully
deprived of knowing most of his older brothers and sisters due to this ongoing
pattern of monsterous racketeering activity, described herein,

43. June 25, 2001, Garner wrote Daley Center Judge Robert W.
Bertucci about Balin and lawyers who aided and abetted Balin`s attempt to
escape prosecution and |iabilty for the property he stole from the estate

44_ July 31, 2001, Anagraphics inc sent a Report and Opinion to
Garner that confirmed that Garner’s late father’s signature was forged on the
aforementioned three properties stolen from Estate of Henry Garner.

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45, 2002, Turner had a mental break-down, due to severe stress
caused by decade plus aforementioned enterprise conspiracy that resulting in
kidnapping of 7-babies, numerous frame-ups,etc. Turner walked off in a daze,
ended up in clutches of her vile fami|y(who caused her social security disablility
check[received for a decade] fo be fenninaied), Chicago Cops failed to properly
investigate missing persons report made by Garner, and Turner missed more
than a decade of disability checks due to enterprise ongoing conspiracy to
attack, harass or impede Plaintiffs at every opportunity

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46. 2003. per Defendant MB Financial Bank(`MB"`) decision to conspire With
City of Chicago to join aforementioned enterpri Se_. City of Chicago lawyer Jason Roberts
filed fraudulent illegal building code case(#03Ml404565/) against vacant lot and alter an
ex parte hearing, Roberts obtained a Col.u't-order.

ZD_M_EAC_`LS

47. January 2004, as part of such ongoing enterprise conspiracy
described herein, unknown Chicago Pclice wrongfully took both JE and JA , who
were defense|ess toddlers(about 3 and 4-years old) . over the objections of
Garner to the equivilant of a "|ion‘s den at Brookfle|d Zoo"(to borrow a quote from
a federal judge regarding the Chistina Eilman case[# ] ), such kids were
predictably brutally attacked in 2004 over a 20-day-ordeal in a Milwaukee
pedophile dope-house boys sustained permanent damage higher-up cops
failed to intervene cops apologized, and all this could have been avoided, if
Cops had not ignored Gamer, like they ignored Ms. Ei|man’s parents in 2006,

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|ndeed, Cops clearly heard Garner explain that Turner was a permanently
disabled gun-shot victim. who was having a nervous breakdown and thus
Garner requested that Turner be taken to a hospital and Garner requested that a
Sergeant come to the scene The female Cop played Doctor, indicated Turner
looked okay, and she declared she was taking Turner plus two toddlers(JA & JE)
to Turner’s aunt’s house For more than a week, Garner called cops dozens
upon dozens of times made police report, and wrote letters includig one to
fenner CPD Superintendent C|ine. Although C|ine had Commander Bartik to
write Garner and Cops to contact Turner in the Mi|waukee dope house Cline
failed to rescue Turner or Garner’s two sons Final|y, after almost 3-weeks,
Garner got a letter from Turner and was able to drive hundreds of miles to
Mi|waukee and rescue Turner and two sons who smelled like illegal drugs and
sustained permanent damage JA has been receiving social security disability,
for almost a decade This is yet another incident of racketeering conduct from
the City of Chicago. Thus. enterprise continues pattern of racketeering activity,
by subjecting Garner to a TWENT|ETH doselincident of expensive harassing
fraudulent litigation and or blatant violation of Garner’s constitutional rights since
aforementioned 1989 UUW arrest.

48. May 28, 2004, under color of law, Defendant Roberts orchestrated
an illegal raid on the vacant lot south of the Property, and stole 15-vehicles from
Garner, using aforementioned fraudulently obtained 2003 building code case
order(#03M}404565). Garner legally bought most of vehicles from City of
Chicago auctions after City of Chicago had seized such vehicles from mostly
Chicago citizens Seems like organized crime when an entity sells property to a
citizen and then executes illegal scheme to steal the vehicles back from the
same citizen. This is yet another incident of racketeering conduct from the City
of Chicago. Thus, enterprise continues pattern of racketeering activity, by
subjecting Garner to a TWENTYF|RST dose/incident of expensive harassing
fraudulent litigation and or blatant violation of Garner‘s constitutional rights since
aforementioned 1989 UUW arrest

49. July12, 2004, Supervising City Attomey Marc Liamanni and
Roberts ignored Garner’s letters sent around June 1, 2004 and used the same
illegal 2003 Court order to conduct a second illegal raid at the Property to collect
interior evidence illegally evict P|aintiffs, and retaliate against Garner for sending
letters complaining about 15-stolen vehicles Proving willful wanton wrongdoing
by City of Chicago. Judge Dan Lynch ignored City crimes on 07-15-04 and let City
tile new case(#04M!402291) against Garner on 07-] 8-04. This is yet another incident
of racketeering conduct from the City of Chicago, Judge Lynch, and MB
customer Otis Davis, who appeared uninvited at hearing, lying to the Court.
Thus, enterprise continues pattern of racketeering activity, by subjecting Garner
to a TWENTYF|RST dose/incident of expensive harassing fraudulent litigation
and or blatant violation of Garner‘s constitutional rights since aforementioned
1989 UUW arrest.

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50. City attorney Stephen Peck filed bogus demo case against Garner in 2004,
years in demo court(#()‘fMl 402538) with crooked inspectors saddled homei’tbe Property
with $IOOK+ in City created debt, and MB connected hard-money lender Phil Cocornise
took lion’s share of fraudulent 3172](? 2007 Resmae loan.

51_ These 2004 incidents are among the latest in a long string of
harassing actions by lv‘lB against Garner and Turner taken in retaliation against
them for refusing to sell MB their house in 2004 (so that MB could build additions
to its facility located next to their home), including but not limited to closing
their bank accounts causing trash to be placed on their property on a
weekly basis and making baseless complaints to the City whenever Garner
attempted to make repairs to his property, and damaging Garner’s property.

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52. February 9, 2005, Garner filed housing discrimination complaint
with the |Dl-IR, Lead investigator Jacquelyn Turner Hamb investigated Garner’s
complaint and determined that an lDHR CHARGE should be filed against MB
and the City of Chicago. Some higher ranking public servant, removed Hamb.
replaced Hamb with someone who manufactured wrongful reasons to close
case and covered up case protecting MB and the City of Chicago.

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53. 2006, Garner retained attorney John Kneafsey to send letters to
MB and the City, requesting that Defendants stop harassing Plaintifls.

54, 2006, Defendant Cooomise wrongfully concealed the death of
Trustee attorney Berthold Schreiber and Cocomise fraudulently filed quit-claim
deeds at the Cook County Recorder’s office to make Cooomise the owner of the
Property, Thus, Cocomise was conspiring with MB and the City to join
enterprise with Cocomise’s incident of racketeering conduct This is yet another
incident of racketeean conduct from the City of Chicago, MB, and fenner MB
customer Cocomise who appeared out of nowhere to start making usurious high
interest loans to Garner, beginning in 2004. Thus, enterprise continues pattern
of racketeering activity, by subjecting Garner to a TWENTYSECOND
dosefrncident of expensive harassing fraudulent litigation and or blatant violation
of Gamer's constitutional rights since aforementioned 1989 UUW arrest

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55. July 2007, Cocomise and City of Chicago conspired to manufacture
fraudulent documents and or false statements to help orchestrate fraudulent

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$172,000 loan for Garner with Resmae Mortgage; For example City of
Chicago created bogus water certification, lying about existance of water meter
in basement of the Property, knowing the loan would have never closed if the
City water department told the truth, there was no meter and the City water
department had not been in basement Cooomise created and or signed
document saying Garner’s payment history was current with him, when
Cooomise knew Garner had been in default for years while City kept Garner
tied-up in Courl. Conspirators knew Garner was on fixed income couldn’t afford
monthly payments that were about double Garner’s income and would soon
default Cooomise took |ion‘s share of loan and promised to make additional
loans to Garner, so Garner could acquire rental real estate to boost income to
avoid default l-lowever, Cooomise refused to make timely loans to Garner, after
Cooomise realized a $100,000 check, when the Resmae deal closed. Garner
complained to |DHR, and Cooomise lied to govemment, to get complaint closed.
While Cocomise continued to mislead Garner about his good intentions
Cooomise continued to secretly meet with conspirators like Kirchner to assist
aforementioned enterprise This is yet another incident of racketeering conduct
from the City of Chicago. MB, and Cocomise. Thus, enterprise continues
pattern of racketeering activity, by subjecting Garner to a TWENTYTH|RD
dose/incident of expensive harassing fraudulent litigation and or blatant violation
of Garner‘s constitutional rights since aforementioned 1989 UUW arrest

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56. September 19, 2008, Kirchner attorney Defendant |ra Nevel filed
fraudulent foreclosure case(#OBCl-l34917) against Garner, when he knew or
should have known that his other client Aurora, didn’t have an interest in the
Property, had no standing, and on the day bogus case was filed, Garner didn't
owe Aurora a dime. lnstead, of just dismissing case and filing a proper case
Nevel used his connection to enterprise conspirators to keep bogus case in
Court and cause Garner to go to great expense of appealing case all the wayte
the lllinois Supreme Court. A|though Defendant Chief Judge Timothy Evans
received many letters and emails about how dishonest connected lawyers like
Nevel were running Daley Center courtrooms without official court reporters
Evans did nothing about the need for permanent court reporters This is yet
another incident of racketeering conduct from the City of Chicago, Nevel, MB,
and Evans. Thus, enterprise continues pattern of racketeering activity, by
subjecting Garner to a TWENTYFOURTH dosehncident of expensive harassing
fraudulent litigation and or blatant violation of Garner’s constitutional rights since
aforementioned 1989 UUW arrest

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57. 2009, Garner was summoned to Daley Center on another matter
and once again learned that a bogus case(#OBCH34 had been tiled, no proper

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notice to Defendants rendered, ex parte hearings had been going on for months
in courtrooms without court reporters Nevels had committed crime of filing false
affidavit to shorten redemption, and other wrongdoing

2§11§) FAQT§

58, November 15, 2010, after Judge Pamela Gi|lespie ruled that
foreclosure Plaintiff didn't have standing and indicated that Garner had a viable
defense to the foreclosure case(#OBCH34917), enterprise conspirators like MB,
Chicago Po|ice, and Cook County States Attomey had Turner falsely arrested
about 130-days after ruling, on a stale 2-year old police report A cop tried to
illegally enter the Property, someone ordered court reporters not to come to any
future hearings and the Judge was soon replaced This is yet another incident
of racketeering conduct from the City of Chicago, MB, and Neve|s. Thus.
enterprise, continues pattern of racketeering activity, by subjecting Garner to a
TWENTYF|FTH dose/incident of expensive harassing fraudulent litigation and or
blatant violation of Garner‘s constitutional rights since aforementioned 1989
UUW arrest

59. December 16, 2010, Turner was arrested and detained for eight
hours by Chicago Cops for alleged property damage to Defendant MB Financial
Banl<(“MB") security cameras such damage allegedly having taken place over
two years before the arrest. She was ordered to appear in court upon release on
December 16, 2010. Turner did not commit the crimes for which she was
charged, and video evidence shows this

60, December 16, 2010, a Chicago Pclice Oflicer went to Garner‘s
residence and threatened him, noting that MB wanted them out of
their hcuse.

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61. January 11, 2011, P|aintiff Kim Vio|et Garner(KV) was born to
Turner at Jackson Park Hospital, and has never seen any of her older
7-kidnapped brothers and sisters Thus, KV has been wrongfully deprived of
knowing most of her older brothers and sisters due to this ongoing pattern of
monsterous racketeering activity, described herein

62. MB’s actions have been in collusion with the City of Chicago,
including but not limited to the two aforestated false arrests and malicious
prosecutions various threats of arrest and removing their children from the
home (stated in connection with mention of MB‘s hostility toward them),
various baseless administrative complaints and actions scheduled purposely
to conflict with other court dates (to cause P|aintiff to defau|t), and removal

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of fifteen vehicles belonging to Garner from his property These actions have
resulted in P|aintiffs home/the Property staying in foreclosure for years

2912 FAQ|§

63. 2012, Garner files first bankruptcy in a life-time and Nevel wrecks
Garner’s bankruptcy with more fraud in federal court

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64_ May 1, 2013, Former Plaintiff attorney Jason Craddock, was
notified of P|aintiff request to file a Moticn for extension due to ongoing
systematic harrassment of P|aintiffs by Defendants, who were continuously
interfering with P|aintiffs ability to prove case. Craddock hid harassment from
the Court in May 2013 and Craddock hid conflict of interest issue from Plaintiffs
for about a year. as Craddock aided and abetted Defendant MB and City.

65. October 18, 2013, in furtherance of aforementioned conspiracy in
case, Plaintiffs subjected to defending harrassing expensive time-consuming
fraudulent litigation of eviction case-#13M1724672(Rosestone investmenfs,i_i_C
v Gamer, Tumer,etc), when Cook County Sheriff Tom Dart’s Office conspired to
manufacture two false affidavits created by perjury from Deputy
Sheriff-star-#11080, who swore Mr. Ray Justin resided at P|aintist home/the
Property/5114 S.Damen to take substitute service for Turner and Mr. Jessie
Grant took substitute service for Gamer. This is yet another incident of
racketeering conduct from the Cook County Sheriff and Neve|, who filed
affidavits and created fraud upon Court. Thusl enterprise, continues pattern of
racketeering activity, by subjecting Garner to a 'IWENT¥S|XTH dose/incident of
expensive harassing fraudulent litigation and or blatant violation of Garner’s
constitutional rights since aforementioned 1989 UUW arrest (SEE two
Affidavits).

66. October 18. 2013, Defendant Cook County Sheriff Tom Dart’s
thce, via Deputy badge#11080 manufactured false substitute service affidavit
to aid and abet Nevel filing a bogus eviction case against Garner and Turner in
the Daley Center.

67. October 30, 2013, Defendant MB had male conspiratorlDigby‘s
security guard to come off of bank property, point gun at head of disabled
gunshot victim P|aintiff Tumer, threaten to kill Tumer, begin to roughly
manhand|e Turner to public side-walk, place his full body wieght in crushing
manner upon Turner, made contact with P|aintiff Garner as Garner tried to
intercede, caused severe injuries to Plaintiffs that P|aintiffs have yet to recover
from, publicly humiliated Plaintiffs, caused Plaintiffs to suffer extreme emotional

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distress caused Defendant City of Chicago to send a unknown male
conspiratorisergeant}cop to run-up to begin trying to break Turner’s left arm plus
shoulder as Turner was still pinned on sidewalk being held by MB guard, caused
Turner to suffer additional severe injuries deliberately caused by Cop, publicly
slandered Turner by falsely stating that Turner’s damage to MB property
provoked his attack, caused Turner to be denied an ambulance as Turner
pleaded to be taken to hospital as Turner was roughly hand-cuffed then forced
into back of police SUV, and caused Turner to suffer in extreme pain for about
30-minutes as conspirators conspired to falsely criminally charge Turner with
battery of guard

BB. October 30, 2013, MB caused Turner to be further humilated by
Cops as Turner was shuff|ed from police station to station over about 12-hours to
delay her release from custody, Turner treated at St. Bemard Hospitai, caused
Garner to suffer additional emotional distress as he frantical|y called police to
learn where Turner was caused Garner to file a complaint against police,
caused Garner to drive his children to the 51st Wentworth police station around
midnight to pick-up Turner. caused already ovenivhelmed Garner to draft
communications to contact |awyers(both criminal defense & civil |itigation) to
explore legal options to address new cause of action manufactured by MB's
unlawful decision to retaliate plus attempt to intimidate witnessesfPlaintiffs in
currently pending federal case(#120v9994['l'urner v. City,MB,etc]), caused
Plaintiffs the expense of attending a bogus criminal hearing where MB failed to
appear and Plaintiffs ordeal plus injuries has been substantial

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69, May 31, 2014, P|aintiff Garner invited to high noon 45-minute
meeting at northside McDona|d`s, where Defendant Kirchner subjected Garner to
further emotional distress as follows:

70. May 31 , 2014, Kirchner stated that he was a friend of white collar
real estate racketeers including federal convicted felon Defendant
Balin(90CR0964[USA v]) connected to Defendant City, and protected by various
Cook County public officials Judges.etc.

71_ May 31, 2014, Kirchner said Balin gave him the Property deed,
obtained by perjury in fraudulent tax deed case(97COTDSOBZ1), sent Kirchner’s
crew to break into Plaintiffs home!the Property in 1999. told F'laintiff to call
Balin’s office to make dea|, because Plaintiff Garner/Executor’s lawyers had
Balin facing citation to try to recover 3-homes stolen in December 1994 using
forged quit claim deeds while possibly on federal probation for using mortage
fraud to rip-off HUD for hundreds of thousands of dollars Defendant Cook
County States Attorney office covered-up criminal complaints by refusing to

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prosecute offenders for break-in, where Mr_ Kirchner admitted meeting Garner,
but Garner didn’t know his name then and could not file a police report for him.

72. May 31, 2014. Kirchner indicated he bought Resmae mortgage
note around 2010, knowing Garner, in part, to target and retaliate against Garner
for filing 1999 criminal charges against Kirchner’s crew.

C.) Kirchner says that he and his attorney Nevel knew they were
using a fraudulent foreclosure case(#OBCl-l34917) to steal subject property, while
all along knowing that they were supposed to have the foreclosure case
dismissed and file a proper mortgage fraud case

D.) Kirchner indicated he had a Cook County Judge that was
supposed to jail Gamer.

E.) Kirchner said that he talked to Nevel about henning Plaintiff
Turner; Kirchner threatened "to slap her ass into the street“.

F.) Garner told to find house Kirchner would accept and
Kirchner would trade subject property deed back to Garner. Kirchner tried to
coerce Garner into working in real estate racket. by practicing law without a law
license, to help defraud big banks like We||s Fargo. Kirchner bragged about
buying $20,000 in drugs from real estate racket profits

70. June 11, 2014, Kirchner subjected Garner to further emotional
distress when Kirchner became angry that Garner’s attorney Stephen Saporta
filed a motion in lllinois Supreme Court, and Kirchner repeatedly talked about
committing crimes against Plaintiffs made statements and or indicated the
following:

A.) Kirchner demanded that Garner stop Saporta from hilng any
more appeals that were costing him money

B.) Kirchner indicated that if Garner used threats in Court,
Kirchner would just deny he made the statements

C.) Kirchner tried to coerce Garner into committing arson in an
insurance fraud scheme to help come-up with the $37,000 he was demanding
for the Property deed that is probably worth less than $10,000. Othenivise,
Kirchner demanded that Garner forthwith give him a deed to trade or he would
personally illegally evict P|aintiffs from property ........ throwing Garner’s library into
the street

D.) Kirchner indicated he was interfering with Plaintiffs pending
case, with MB communication,etc.

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71.
Qo_rictusioo

WHEREFORE, P|aintiff urges that this Honorable Court award
judgment for Plaintiffs against all Defendants for all of their egregious

actions described above; specifically P|aintiffs urge the award of actual and
compensatory damages and exemplary damages

Jury Tria| Demanded

Bv: Jamesl;l._Qame_r
Plaintiff
P.O. Box 3683?1
Chicago, lllinois 60636
Phone: (224) 650-4677
Emai|: BusinessConsu|tl @yahoo.com

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iLLiNOiS DEPARTMENT or # n /,

IHuman Ri hts

Pat Ctuinn. Governor
Rocco J. C|aps Director

October T, 2014

HOUSING DISCRIMINLTION CUHPLAINT

CASE NUHEBR: IDHR 2015CH0132, HUD 05-14-1549-8
l. Coepleinente

James Garner
PO BOX 3683?1
Chicaqo, IL 60635

2. Othez Aggrieved Pe:sone

Tina Turner
Ccmplainant‘s wife
PO Box 3693?1
Chicago, IL 69636

James Edward Socrates Garner
Complainant‘s son, age 13

PO Bcix 363371

Chicago. IL 60636

James Amistad Moses Garner
Complainant’s son, age 14
PO Box 3633T1

Chicgao, IL 60636

Kim Violet Garner
Complaiant's daughter, age 3
PO Box 368371

Chicago. IL 60636

3. The following is alleged to have occurred or ie about to occur:

Discriminatcry refusal to sell.
Discriminatory terms, conditions, privileges, ar services and facilities.
Discriminatory acts under Seccion 918 tcoercion, Etc.).

4. The alleged vlolation occurred because o£:
Raca/black lhfrican Amcricanl.

It is alleged that the respondent ccerced, intimidated, threatened or interfered
with a person in the exercise or enjoyment of fair housing rights or assisting
another in enjoying such rights.

5. Addrese end location of the property in question for if ne property il involved,
the city end steve where the discrimination oceurred):

5114 5 Damen
Chicaqn, IL 60609

100 West Randolph Sl'w¢t, Suite lO-IOO, Chicago. IL 6060|. (312} 8 l4-620'D, TTY (866) 740-3953. Housng Linc {900) 662~3942
222 Soi.ilh Cnllcgc Slrcet, Room lOI, Spril'lgf!cfd, lL 62704, (2|7) 785-5100
2309 Wcst Ma.in Slreel, Mariorl, ll. 62959 {618) 993-7463
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Case: 1:15-cv-10553 Document #: 1 Filed: 11/20/15 Page 57 of 100 Page|D #:57

Charge Number: IDHR 2015CHO732, HUD 05-14-1549-8
Paqe 2

6. Respondent(e)

Respondent #l: Allen Kirchner
Rosestone Investments, LLC
2911 N. Cicero Avenue
Chicago. IL 60641

Respondent #2: Rosestone Investments, LLC
2911 N. Cicero Avenue
Chicago, IL 60641

Responoent #3: ?hillip Cooomise
PC Development, Inc.
11? Roppolo Drive
Elk Grove Village. IL 6000?

Eespondent &4: PC Development, Inc.
?1? Roppold Drive
Elk Grove Village, IL 6000?

Respondent #5: fra Nevel
115 N. Franklin
Suita 201
Chicago. IL 60606

T. The following il c brief end concise stateeent of the facto regarding the alleged
violetion:

Complainant was the previous owner of said property in question. The property was
purchased by a white owner in a judicial sale. Dn June 6, 2016, Complainant and
Mr. Cooomise, the lender, met to discuss ways for Complainant to re-purchase the
property from Mr. Kirchner. He states Hr. Cooomise told him that it would be in
the best interest for him to meet privately with Mr. Kirchner to facilitate the
sale of the property at a reasonable price. Mr. Kirchner refused to sell to
Complainant,

On June 10, 2014, Complainant was informed by Mr. Cooomise that he refused to lend
any additional monies to Complainant to re-purchase the property after he met with
Mr. Kirchner; Despite Mr. Cooomise setting up "Cocomise 2013 Trust" to hold subject
property deed as collateral for Mr. Cooomise's loan agreement to provide loan money
to Complainant to acquire subject property. after lying to the IDHR to resolve a
previous housing discrimination complaint.

Complainant received telephone ca11 from Mr. Kirchner on June 11, 2014. Mr.
Kirchner threatened to put Complainant and his family on the streets. "I want my
money or I‘m going to take you, your library, and everything you got and I'm going
to throw it into the street. I'm going to do it personally because you are
starting to aggravate me! l got your other motion and it's a bullshit motion." He
alleged on June ll, 2014. Mr. Kirchner threatened to sabotage his complaint be
filed in federal court if he did not pay him $37,000.

Mr. Kirchner told Complainant to burn subject propertyl because he had insurance on
subject property, he indicated that he wanted the 537.000, and he ordered
Complainant to stop Complainant's lawyers from appealing the fraudulent litigation
created by Mr. Nevel to manufacture the aforementioned judicial sale.

Complainant states Mr. Kirchner threatened to make one ca11 to Mr. Nevel, Mr. Nevel
would dismiss current fraudulent litigation. and Mr. Nevel would file more serious
fraudulent litigation against Complainant. Mr. Kirchner also threatened to lie to
cover-up his threats against Complainant, if Complainant reported threats in Court
and he also vowed to crush lawyers hired by Complainant.

100 Wcst R:indo?ph Sln:el. J.R. Thompson Ccmer, Suite lO-| 00. Chicago. lllinois 6060|. 312-8|¢|-6200‘ 3 |2-263~1 579 ¢TDD).
3|2-8|4-623| [FAX). llousing Lim.` l-BOO-MZ-}Q¢¢Z
222 Snulh Co||eg\: h`lro¢:l. Roo:n IUl. Springficlcl lllinois 62704. 2l7-’?85-5I00. .'!|?-785-5|2$(11)|)}
2309 W¢:sl Main Sln:cl. Sl.lito l l2. Mu:ion. lllinois 62959. 618-993-7463

 

 

 

 

Case: 1:15-cv-10553 Document #: 1 Filed: 11/20/15 Page 58 of 100 Page|D #:58

Charge Number: IDHR 2015CH0732, HUD 05-14-1549-8

?age 3
Complainant discovered that Mr. Kirchner lowered the price to Mr. Cooomise to
purchase the property to $25,000. Complainant states Mr. Kirchner set different
terms and conditions in the purchase of the property by demanding him to pay
$37,000: but he offered to sell the property to Mr. Cooomise for 525,000.

Complainant states Mr. Kirchner said $12,000 of the $31,000 was going to Mr. Nevel;
Complainant believes 512,000 was Mr. Nevel's cut from the conspiracy to either
over-charge Complainant or refuse to sell to the Complainant.

4.

Complainant believes the owner, his lawyer, and lender conspired to deny him an
opportunity to re~purchase his building and subjected to different terms and
conditions because of his race. black.

B. The most recent date on which the alleged discrimination occurred:

June 11, 2014, and is continuing.

9. Ty'pes of Federa.l hands identified:
None.

10, The note alleged in this oolpleint, if proven, stay constitute a violation of the
following:

Sect:i.cms 804='1. 801-lb and 813 of Title VIII of the Civil Rights Bct. of 1953 as
amended by the F'air Housing Act of 1988 and Sections 3-102(3\), 3~102{3] and 3-105.1
of the lllinois Human Rights Act.

Please sign md date this form

Under penalties ss provided by law pursuant to Sect.ion 1-109 of the Code of Civil
Prooedure [‘?35 ILCS 511-1091 , the undersigned certifies that the stateeents set forth in
this inet.r\ment are true and correct, except ss to matters therein stated to be on
infomntion end belief and e.s to such matters the undersigned certifies as aforesaid that
he or she verily believes the same to be true.

 

MZ@/ ?-

J s Garner iDate}

 

NOTI: IDHR HILL FURHIBH h COP! OF THIS CUHTLLIHT TO THI PIRSOH OR ORGRNIZATION AGRINST
WHCH IT IS FILKIJ.

100 West Rando|ph Srrect. J.R. Thompson Cenlsr. Sui!c }0- IGD, Chicago. lllinois 60601. 3 l2-8I4-6200. 3 l 2-263- 579 (TDD).
312-8|4-625| (FA X], llousing Linr` 1-800-()02-3942
222 Soulh Co|icge Scrocl, Roum l¢)l. Springiield. lllinois 62?04. ZlT-?BS-$IGO. 217-785-$ |25 (TDD}
2309 Wcsl Main Slrect. Suit¢ |IZ. Marion. I ||inois 629$9. 6| 8-993»7463

 

 

 

/ Case: 1:15-cv-10553 Document #: 1 Filed: 11/20/15 Page 59 01 100 Page|D #:59

lLl_lNOlS DEPARTMENT OF

iHuman Rights

Pal Quinn. Governor
Rocco J. Claps, Director
October ?, 2014

James Garner
PO BOX 3683?1
Chicago._ IL 60636

Re: Charge No. lDHR 2015CHO?32. HUD 05-14-1549-8
Respondent: Allen Kirchner: Rosestone Investments_, I_,LC; Phillip Cocomise; PC
Dcvelopment, lnc; and lra Nevel

Dcar Complainant:

You have filed the enclosed housing discrimination charge with the lllinois Department of Human
Rjghts (“the Deparunent") in accordance with the Human Rights Act, and we have assigned it the
charge number indicated above A copy of the charge has been served on the Respondent. ICEEP
THIS LETTER A_ND HAVE IT WITH YOU IF YOU NEED TO TELEPHONE OR COME
TO THE DEPARTMENT. lt is your responsibility to cooperate with the Department’s
investigation and provide all pertinent information concerning the case by the dates requested

Please be advised that we make every effort to conduct our investigations in a neutral and fair
manner. If you have any concerns in this regard, please contact Marian Honel, Manager, F air
Housing Division, at (312) 814-6219. It`the charge is dismissed, you have the right to tile an
appeal as explained in the attached Procedures for Housing Cases. Please make sure you notify us
if you move or change your address or telephone number.

lf you have any questions or concerns about the charge, or if we have not yet discussed the
charge, please contact me immediately

Your cooperation is appreciated

Sinccrely,

- aaassesss_

Paul Galbraith

lnvestigator III

Fair Housing Division
(312) 814-1988
Paul.Galbra.ith@illinois.gov
Enclosures: Charge

100 West Rando|ph Strcer` Suitc 10-100, Chicago. ll. 01'|601. 13 | 21 814-620{), TTY13661 740-3953, Housing l_ine [_SUUl 662-3942
222 Soutl‘\ Collcgc Slrch Roorn 101. Springt"leld, lL 62?04, 12 171 1155-51 00
2309 Wcsl Main Strcet. Marlorl, IL 62959 1618] 993-?463
\\-ww.illinois.aov»dhr

 

 

 

Case: 1:15-cv-10553 Document #: 1 Filed: 11/20/15 Page 60 of 100 PagMMB/]-
TRANSCRIPT: Meeting At McDonald’s 1900 N. Western on 5-3]-]4 # n n

J.G. Arrive at 12:30p.m to meet Rosestone lnvestmentS,LLC boss Mr. A]lan Kirchner:

l . Al: ‘“`You’re a formidable opponent but you picked the wrong guy”; "‘My
name is Allan."' “I"rn going to tom off my phone, you turn off yours.” “This

conversation is not being recorded....ls that correct?”
2. JG: “'?"'

3. Al: "‘I respect you and I respect your position." ""?” “Well, you’ve been

having a lot of fun_. if you wanna call it fun.”
4. JG: “It wasn’t fun.”

5. Al: “I didn’t think so.” “I know you, but I’m not going to tell you where

I know you from, because you should know ......... but you don’t”

6. JG: [“Where?”]

7- Al: [laughter] “Nothing good, nothing bad.....” “So, what do you want
to do?”

8. JG: “l want to make a deal."

9. A]: “Give me a number.”

10. JG; “l want to pay $25."

ll. Al: “You paid $24 for it back in 1989.” “You’ve had numerous tax

15

cases. “A guy named Cocomise...a guy you used to work with....you’ve got some

 

integrity issues with him or him with you.” “You got into a battle with a guy named

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TRANSCRIPT: Meeting At McDonald’s 1900 N. Western on 5-31-14

Steven Duckett....years back....l see his name in there”. “You also got into a battle with

 

another one of my friends ..... Mr. Gilbert Balin....okay....l see that too.” "`25 is not
enough ..... I’m not going to hold you up ......... my attorney fees are enormous ..... that you
created ...... you’re going to have to change your number and get back to me in a couple
days."` “I know you"re not staying there(subj ect propertnyl 14 S Damen)....you`re trying
to give the appearance that you are staying there.” “l thought it was real funny_. l have to
give you some credit for....I get a letter from my attorney_. he says he’s(JG) got some lady
staying there named Tina Turner:” “I said really, you tell him ...... who is the husband of

Tina Tumer? .......

12. JG: ”[ke”.

13. Al: “Ike is going to slap her ass into the street!” “Aint no Tina Turner
living there.” “My attorney started laughing.” “I’m a son of God ....... Jesus Chn`st is rny
savior ....... and I’rn friggin tired of bricks on SIst and Damen!” “You sucked up my
time....you sucked up my money ..... you sucked up my resources!” “All in the name of
something that somebody did 150-years ago in the Civil War ....... that was ridiculous!"'
“Let me tell you something Abraham Lincoln was my....[thh?]...cousin." “It’s
documented.” “I didn’t appreciate the comments made about black reparations and all
that bull-era .” lt aint your fault and my fault about what happened 150 years ago.”

“That was all dumb stuff...."

14. JG: “That’s true.”

15. Al: “You know ..... give me a break.......l’m Abraham Lincoln’s cousin

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TRANSCRIP'I`: Meeting At McDonald’s 1900 N. Western on 5~31-14

brother! “`Alright”.

16. .lG: “I didn’t know that....”

1?. Al: "`and l didn't know what you were thinking either ..... but let me tell
you something.” “'I`hat poor man ..... that blessed man ...... sat at that table ...... with
parents.....with one side believed in slavery wearing grey uniforms....somebody had to sit
there with sons on each side of the civil war....and Abraham Lincoln had to sit there and
pray, while their sons were outside shooting at each other."' “You have the right to tell
me that we owe you something ........ do you know what they say in Spanjsh?....[...?.-.]...do
you know what that means in Spanish?” “It means you must have a fart in your
skull ..... to think that!” “So, l come from good blood ..... my Christ Jesus ....... I was runnin,
gunnin, drinking, screwing, brewing, barbequeing, and sinning my life away.” “I heard

your father was a big tax buyer at one time_. was he not?"`

18. JG: “,...ai"ter he died.....l became the Executor ..... then me and Mr. Bailen

”

got oi’l` on the wrong foot .....

19. Al: "‘Didn’t your father own the vacant lot at 51 16 S. Damen?"`

20. JG: “‘I not sure."’

21. Al: "‘I think he did.” “I remember the upstairs(subject property) ...... it
was used for rooms....lef’t right left right....it was a mixed use building.” “You know it’s

4 and a half years taxes or about $20,000 owed on the building.” “My attorney cost me

 

 

$12=000 ...... I rather take the building ..... because I would just gut it out ........ I can do it for
$20,000 per unit.......l will tuck point it.-..sandblast it....l’ll rent it out ........ do you want to

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TRANSCRIPT: Meeting At McDonald’s 1900 N. Westem on 5-31-14

rent an apartment from me‘?.....,.you have a place to go, do you not?"`

22. JG: "‘1"ll have to find a place to go.”

23. Al: “Who changed the tax address to Josette?” “lf` any body tampers
with it_. l will prosecute." “l\lowg here is what l want to tell you."" “You come up with a

number So l don"t have to waste anymore time with the building.”

24. JG: “$25,000..."

25. Al: “It’s not going to be $25_.000 ........ not going to be $25,000.”

26. JG: “Whats the number that makes you happy?”

2?. Al: “None of this makes me happy!” “l shouldn’t be here and you
shouldn’t be here." “None of this makes me happy.” You give me a better number than
that and I’ll shake your hand....you can pick up the deed in my office next week ..... we"ll

dismiss the case”. “You have to do better than $25,000.” “1’ve got to pay my

 

attomey(Mr. Ira Nevel), who you terrorized and he was busy moving, by the way.......”

 

“You’re lucky that Judge didn’t throw your ass in the cooler man......”

 

28. JG: “Whjch Judge?"
29. Al: “ .................................... [unknown] .......... ” “An attorney says you’re
famous(case)....you’re part of our continuing education ......... it was funny."’ “Anyways,

uh, the only one left over there(subject property) is you and I think you go over there once
and a while ..... ” “I drive by ..... I See you installed a camera out there to intimidate or

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TRANSCRlPT: Meeting At McDonald`s 1900 N. Western on 5-31-14

watch your propertyl .”

30. JG: “You said you knew me in 1999..._."

 

31 . Al: “1 like that you’re drinking ...... you`re thinking so hard ..... I can see

smoke is coming out of your ears.” “That was about the spring of 1999 or so.”

 

32. JG: “Did you work for [Gilbert] Balin’s oft`ice‘?”
33. Al: “No.” "But 1’11 tell you what happened.” “You owe somebody an

9

apology that you didn’t know’ . “To me its just business.” “Do you believe in Jesus

Christ?”

34. JG: “l believe in God."`

35. Al: “What happened was ....... Balin had got your deed, he gave me the

 

 

original, that was recorded and handed it back to me.” “He told me to go over there(to
subject property) and see if there was anybody in there..........you have the right to go in

there and secure the property, if nobody is there.” “We met you upstairs....you walked

 

 

out of a back room.” “I was with a pastor.....a man of God_, who you dragged
court ...... made a complaint(police report) and he had to go to court three times to clear his
name.” “You didn’t know that.” “We even offered you a place to stay....money ..... food."’

Remember, the next tall pastor....that was me ...... ”

36. JG: “I remember ....... ”
37. Al: “His name is pastor Revis .......... Chicago Victory Church"’. “That

is when I met him in 1998 ..... he introduced me to Jesus....”

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TRANSCRIPT: Meeting At McDonald’s 1900 N. Westem on 5-31-14

38. JG: “`You were the guy who said` when the old gavel falls...thats it....”

39. Al: “lt already did.......heres the thing ...... it was just a matter of

possession at that time.” “You know the game ................ how many clients you got?”
40. JG: “I’m not a lawyer!”

41. Al: “I know you’re not........lets just say that you’re good at pro se...."
"`He(Revis) had to go to Court three times to clear his name_. because you called it
breaking and entering."’ “So, we got a summons at the church ..... a man of God....who did
nothing wrong, because we were going to open up a church there(subject propercy_).”
"‘...,-you don’t remember that....we came in peace and y_ou terrorized us with the police."’
“So you know what, its a long battle my brother and the battle has started agajn!“ “ ..... we
got some notes(mortages`) for you, heres one at 51 14 S. Damen and I said, J ames Garner’s
storefront ....... he’s got an apartment upstairs ...... I met him!” “So_. it(subject property)
came back to me twice.” “So, you know what I say, Mr. Garner ..... I Say we both got a
lesson ...... you mess with Abraham Lincoln ...... ” “I’ve got to tell you a funny story ...... it
was back in the 80’5....remember when we had telephone booths....the guy was a

genius ..... you follow me.” “You’re a genius!” “You know what the phone company did

with him?"’
42. JG: “What did they do'?"’

43. AL: “They hired hjm.” “1 was telling someone a joke the other day, 1
was telling the same story ....... you see these hackers .......... this ggy Garner’s pret_ty

good ...... but in the end Jesus will always be right ...... thats why l won!” “It’s over.”

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TRANSCRIPT: Meeting At McDonald’s 1900 N. Westem on 5-3]-14

"'....you can manipulate Judges...you can manipulate me....but you can`t manipulate
God ........ cause I’m right." “lt’s not a matter of winning or losing........$25_.000 is not
enough ..... because you cost the money not rne.” “The other thing is, I want to send my
crew to clean the place out....l don’t care.” “Heres the thing ..... come up with a good

number......."

44. JG'. “What is your number?”

45. AL: “l don’t want to pay any taxes ..... the taxes are all yours ...... l wiped
out all the water liens for you.......l did you a favor." “I don"t think the waters on in
there( subject property)....its off at the meter.” “I’m drinking like $3?,000 ......... that covers
everything....it lets me make a dollar ..... I’m going to donate iO-percent to pastor Revis”
“he’s taken a lot of people off of the street....he feeds um, clothes um....gives um a place

to sleep and takes care of them.”

46. JG: “That is a beautiful thing.”

4?. AL: “When I was out there screwing, brewing, barbequing, and
drinking........l had a home_. a car, money in the bank_. but Ijust couldn’t quit....it took
.lesus to help me do it ........... I met him in 1998(Revis`)....l stayed with him for 9-months.”
“......I walked into church and gave my life to Christ.” “ ...... it was easy for me to make

money in real estate ...... I’d make $20,000 fee and spend it all on drugs....” “....Revis said

 

 

can you help me buy this church ..... l said sure....he said can you help me buy a church in

Calit`ornia ..... l said sure ..... he said can you do this in Jacksonville....so God was using

Page 7 sr 12

 

 

 

 

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TRANSCRIPT: Meeting At McDonald’s 1900 N. Westem on 5-31-14

me...like a pawn on a chess board."` “My wife is Puerto Rican.” “l grew up in a hispanic
and black neighborhood ............ " “....if you put a Church in a 501 -3-c, you can wipe out

3-years of taxes..." “I’II take $37_.000, give you the deed, and you go record it ..... that it."

48. JG: “I don’t have $37_.000 cash...”

49. Al: "`“You got another building.....let"s trade ...... there is a million ways

to do this....."

50. JG: “What a doum-paynnent, payrnents._ and a purchase money

'!'}

mortgages until my lawsuit settles and then l can pay you off ......

51. Al: “1 don’t think l’ll do that ..... ” “Let me tell you something,

 

attorneys have to make money ......... after they take your money, they don’t care about
£u._" “l gotta tell you something that I didn’t do because.......l don’t know if you’re

aware of this ..... l gotta tell you something.” “I wanted to see how long this would play

out and 1 knew you would be calling me one day ...... but 1 got to tell you something.” l

was going to have this case(foreclosure) dismissed and I was going to hit you with

 

mortgage fraud.” “l would have fucking blown you out of the water pall"` "‘You would
have been blown out of the water ....... that was a fraudulent mortgage."’ "‘It was a retail
unit....the appraiser in that deal ...... okay.” “It’s mortgage fraud ....... l could have blown
this whole thing up....with one change.....”

52. .1 G: “1 agree with you ..... it was mortg§.ge fraud.” “'I`he reason I took the

mortgage......was because l had to pay Mr. Cocomise $100,000....1 signed everything they

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TRANSCR]PT: Meeting At McDonald’s 1900 N. Western on 5-31-14

1-.

told me to sign .....

53. Al: “You trytelling that to the Judge.” “ ....... one phone call to
Nevel ..... tell him to stop it ....... then you would have got in trouble.” “You signed the

91 £E'

papers ..... because that was a residential mortgage on a mixed use building. 1 don’t want

 

 

to cross up anybody else ...... with what l’m doing here with you ..... if you want to get a
hard money loan.....l`ll give you a payoff letter ..... 1 just want my money ..... we got the
deed in a trust ..... j ust give me the money ..... l”ll sign the trust over to you." “Either you

you want it....l will work with you ..... but it’s got to be soon.”

54. JG: “I’m ready to do something this week....."`

55. Al: “A couple thousand dollars down ...... l can’t do that ..... "

56. JG: “l can come up with $5,000 down ..... ”

57. Al: “lts no way l can do it.......

9','

58. JG: “I could pay you off in a year or lS-months .....

59. Al: “No ........... I’m not going to have another possession fight with
you.” "‘I can’t.............l gotta get cashed out.” “’ ..... 1 been in worst positions ..... right now
its you not me ..... its you ..... l believe in the power of .1 esus Christ ..... right now l’ve got to

run.” “So, in the name of lesus....l’m going to pray that you find a solution ..... Oh lord,
bless him with some funding lord ....... he can change his heat't...and turn his heart toward

you ..... Amen....l’ve got to go ...... you can call me ...... l don’t want to spend a lot of time on

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TRANSCRIPT: Meeting At McDonald’s 1900 N. Western on 5-31-14

this ....... 1 got to get in there(subject property) ....... l gotta start working.” “Maybe you`ve
got another property ....... l buy situations!” “Maybe you something else l can buy and

make some money on ...... we can even up that way ........ I don’t want an empty lot .....

60. JG: “So you’re saying if I’ve got another piece of property like a

house.....""

61. Al: “....Trade with me ..... I"ll trade you deeds.” “I don’t want

 

something falling down and the city got a demo order on it...” “Maybe we’ll do this....at
least half the money down....$lS,SOO and give me some other collateral for the other

518,500." “Put your brain to work on that.....”

62. JG: “....a house at 6522 S. Winchester...”

63. Al: “It’s very possible ..... is it occupied ....... is it really tore up?“ “Can l
turn my phone on and put the address in?” “How many years taxes on it?” “....l don’t

want a back-lot ..... forget that....what else you got?”

64. JG: “"[hats about it....”

05. Al: “`l`hose don’t sell ..... l buy those for $12,000.” "Nobody likes back
lots....those don’t have any curb appeal ........... especially in bad neighborhoods.” “65th

and Winchester is a death trap!" “l got one at 67th and Marshfield ..... l got some cheap

 

properties ..... thats the last business I’m doing on the southside ..... there is nothi§

.happening....nothing going on ..... but horror and.bad things ...... l just pray for those

 

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TRANSCRIPT: Meeting At McDonald’s 1900 N. Western on 5-31-14

neighborhoods and neighbors to step forward and bring God upon them."` “There
messing-up there lives and killing each other.-..down there ...... you know that!" [?“You`re
to be Standing where you live at.""] “You think about ..... I’ve got to get to an

71 ii

appointment... ....another building thats acceptable and we’ll work it out.” “...I’lljust
drive by and see the Hont and back ..... l don’t have to go in and l will say yes or no.” “I’ll
look at 6522 S Winchester ..... although, Iknow l won’t like ....... especially if its been bad

shape and been vacant a long time.” “Maybe, l’ll do a valuation on what the building is

 

worth to me."`
66. JG: “ ......... l don’t want to be back in that courtroom.”
67. Al: ‘:No ...... you’re Worn out dude.”

 

6a JG: “1 am worn out ...... live got bad feet__._high blood pressure....hean

trouble ...... "

69. Al: “You don’t smoke or drink....do you?”

70. JG: “No.” “The lawyer says we can do this and that ....... keeping the

case going....” "‘I’d rather just pay Al.”

71. Al: “I-Ie`s(the lawyer) just bleeding you....” “You’re making a deal
with me!” “Don"t worry about it.” “Lets get to work.”

72. Al: “_I have one more thing for you and I want you to think about it.”
“I’ve got a girl who owes a big mortgage on a house ..... and there is an open case on it ..... I

-_

 

might have a way for you top make more money....but this time you would be on the

Page ll of 12

 

 

 

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TRANSCRIPT: Meeting At McDonald"s 1900 N. Western on 5-3]-]4

other side ...... you can tile a motion electronically and never go to court....Wells

Fargo......these people have bad book keeping and l know l can delete the mortgage ..... that

 

would be worth money to me.....

 

73. JG: "‘Okay.-..ok.,..if we do the deal on the building(subj eci property)_"'

?`4. Al: [?""Bye"] [AL LEFT MC D’S ..... MEETING DONE]

Page 12 of l2

 

 

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% W€a garza @”7.` @vaeza@ "* *’

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175 N. FFlANKLlN STFIEET
SLJITE 201

CH|CAGO. ll_LlNOlS 60606
TEi_EPl-loNE (312} 357-1125
FAX l312] 357-1140
iraneve|@neve|law.eom

December 9, 2014

Mr, James Garner and Ms. Tina Turner Mr. James Garner and Ms. Tina Turner
P.O. Box 368371 5114 South Damen Avenue
Chicago, |L 60636 Chicago, |L 60609

Re: Rosestone vs. Tina Turner, et al

13 |V|l 724672

Dear Mr. Garner and Ms. Turner,

As you know, | represent the Plaintii'f, Rosestone |nvestments, LLC, who now owns the subject property at
5114 S. Damen, Chicago, lL 60609. Your possession of the subject property has recently been terminated by the
Sherirf of Cook County on November 10, 2014 pursuant to Orders of Possession. You have failed to contact me
about removal of the personal property left there, even though the Sherlff has directed you to do so on November

10, 2014.

This letter is to inform you that on December 20, 2014 at 9:00 a.m., the P|aintiff will be removing all
personal property from the house and placing it either into a dumpster or on the curb. You will be permitted to
appear on that date and time to take possession of the personal property from outside the house as. it is removed.
You will not be permitted into the house under any circumsta nces.

l strongly suggest that you consult with one of your attorneys about this matter. Rosestone is allowing
this reasonable opportunity for you to remove your personal property. This will be your one and only opportunity
to remove property from the house. lf you fail to a ear to remove items you want, you will have waived your

right to do so and it will he discarded.

 
  
 

P|ease contact the undersigned w' h any s estions ¢

 
  

\_

cc: Starr Beijgert Zink 81 Rowe|ls
35 E. Wacker Drive, Suite 1870
Chicago, lL 60601

BusinessConsultl@yahoo.com
Chicago@lC.FBl.gov

 

 

 

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i:' l :':* r"~;.-
IN THE CIRCUIT COURT or COOK COUNTY_. ILLtNoIS -- "

  

correr DEPARTMENT, county orvisiogs; gray f 9 P,__¢ 1 _ 29
IN THE MATTER or THE APPLicATION or CLL ;l _ j ..F__“i.r

THE COUNTY COLLECTOR FOR

JUDGMENT AND SALE AGAINST LANDS AND
LOTS UPON Wl-llCl-l ALL OR A PART OF THE
GENERAI. TAXES FOR TWO OR MOR_E YEARS
ARE DELINQUENT PURSUANT T.O SECT[ON
311-260 OF THE PROPERTY TAX CODE,

.AS AMENDED

cc'_:,-::. -_i;._v

cAse No. 91 corosh

CERT NO. 9?$-00044?9

\_r-_r-._¢‘-._r'-._r\-_r\_r\_'

Al\/IENDED MOTION FOR THE IMPOSITION OF SANCTIONS
UNDER UP ME URT RULE 37

JAMES GARNER, individually and doing business as JOSET'I`E REAL ESTATE
COMPANY, by and through his attorneys, Chuhak & Tecson, P.C._. moves this Court to enter an
award of sanctions pursuant to Suprcrne Court Rule 13? and for other relief; in support of which.r
Moyant states as follows:

l. Your Movant, JAMES GAR_NER, originally came into title of the subject
property on or about October 13, 1988 by a warranty deed which was thereafter recorded on or
about May 5, 1989 in the Ofiice of the Cook County Recorder of Deeds. JAMES GARNER has
Continuously held record title ownership in the said property from that date.

2. On or about December l?, 1998, this Court entered an Order directing the Cook
County Cle'rk to issue a tax deed in favor of Petitioner CAPITAL TAX CORPORATION,
thereby removing JAMES GARN`ER from the status of record title holder. A copy of the Order
ofthis Court of December 17, 1998 accompanies this Motion as Exhibit 1.

3. An essential basis supporting this Court’s decision to direct the County Clerk to

issue a tax deed in favor of tax purchaser CAPITAL TAX CORPORATION was the

representation to this Court by that entity, through its attorney, TIMOTHY BALIN_. and through

 

 

 

 

 

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_th_eentity"s property inspector, GILBERT BALIN, that the subject premises was commercial in

nature, and therefore subject to the shorter redemption period of six (6) months (pursuant to 35

 

ILCS 200!21-350(a)), rather than residential', which would allow the owner the longer period of
2% years, or thirty (30) months within which to redeem the property from the tax sale. 35 ILCS
200!21-350(b) (1998}.

4. The December 17, 1998 Order was entered pursuant to a verified Petition for Tax
Deed filed with this Court December 2, 1997, a copy of which accompanies this Motion as
Exhibit 2. Within the said Petition for Ta)t Deed it is recited that as of the date of filing, the
property had not been redeemed from the tax sale, and it further provided that the time for
redemption of the property "‘will expire by extension on April 15, 1998.“ See 113 of Petition for .-
Tax Deed, Exhibit 2.

5. The redemption period applied by CAPITAL TAX CORPORATION of six (6)
montth was that pertaining to property governed by §21-350(a), or “property containing an
improvement consisting of a structure or structures with ? or more residential units or that is
commercial or industrial property, . . . 35 ILCS 2001'21-350(a) (1998).

6. Upon the expiration of the stated lesser redemption period on April 15, 1998, and
as no redemption of the taxes had occurred._ Petitioner CAPlTAL TAX CORPORATION filed its

Application [`or an Order Directing the County Clerk to lssuc a Tax Dccd (hereinafter,

 

1Or, as the statute states, if the proper'ty, on the date of sale, “was improved with a structure
consisting of at least one and not more than 6 dwelling units it may be redeemed at any time on or before
the expiration of2 years and 6 months from the date of sale.” 35 ILCS 200!21-350.

2its extended by the tax purchaser from February, 1998 to April 15, 1998. See Petition for Tax
Deed, Exhibit 2 hereto, at113, p. 1.

l~J

 

 

 

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"`Application”} on April 21._ 1998, A copy of the said Application is attached as Exhibit 3. The
said Application was signed by attorney TIMOTHY BALIN, of BALIN, SMITH AND
ASSOCIATES_. LTD., the law firm representing CAPITAL TAX CORPORATION. The
Application for an Order provides, in part, as follows:
l The time for redemption for said safe has expired and the
following described real estate, which is also described in said Petition, has not
been redeemed from said Salet

See page l of Exhibit 3. (Emphasis added.}

'i'. The supporting Aft`tdavit oleMOTI-IY BALIN, as attorney for Petitioner

 

C.APITAL TAX CORPORATION, is attached to the Application at its end. Within the

Affidavig it is similarly recited that, ""[t]he time of redemption, as extended, from tax sale ' -

.._.__

expired April 15, 1998." See 12 ofAfi`rdavit, at Exhibit 3.

 

 

 

3. The Petitioner, CAPITAL TAX CORPORATION, thereafter brought testimony in
support of its Application, which was heard by this Court on June 301 1998. A full and complete
copy of the transcript from the June 30, 1998 hearing accompanies this Motionn as Exhibit 4.

9. At the top of page 4 of the Exhibit 4, CAPITAL TAX COR.PORATION, through
its attorney, TIMOTHY BALIN_. expressly advised the Court as follows:

Your Honor, the extended period of redemption for this sale was April 15,

1998. At this time I am presenting the original stamped by the Cook County

Clerlt showing the extension to that date and ask to withdraw the original bearing

the green stamp and present a photocopy at this time.

Exhibit 4, p. 4, lines l - 6. At that time, a witness was sworn in to testify in support of the

 

 

Application, GILBERT BALIN, who was introduced to the Court as the lnspector of tax

 

purchaser CAPITAL TAX CORPORATION to give testimony, inter alia, relative to the zoning

 

 

 

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character of the premises GILBERT BALIN, on information and belief. is or was. at the time of

the hearing, a principal of the petitioner_. CAPITAL TAX COR_PORATION.

lO.

Q,

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?».OP"'.O

'.O

GILBERT BALIN’$ testimony was as follows:

 

Ca.n you please state your name for the record?

Gilbert Balin.

Mr. Balin, is your capacity with Capital Tax Corporation one of an inspector?
Yes.

And do you personally inspect property for them prior to and subsequent to
scavenger tax sales’?

Yes.

Do you also check judgment books to observe if there has been a redemption
made? -

Yes.
And has there been a redemption made to this PIN number'?

Not to my knowledge

¢l¢ =l= all ¢ =|=

 

Mr. Balin, did you, in fact, physically [inspect] this property?
xi .
What is the common street address of the property?

5114 - 5116 South Damen.

And what is the property improved with'?

 

115 a store and an apartment

 

And approximately what was the date of your physical inspection?

4

 

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.3’ 49

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?‘> '.O

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Q.

A.

lt was around December 18, 1997.

 

Was that your inspection during the notice-serving period'?
Yes.
And did you also inspect the property prior to and subsequent to that date?
Yes, several times.
rand is the property occupied‘?
As far as l could tell, it’s vacant I keep leaving cards in the door and notes.
l happen to know the owner of the property and I can"t get in touch with
him. l’ve asked around and the people said they haven"t seen him in quite some
time.

What was the name of the owner? ` ‘ .-

Mr Gamer.

James Garner?

Yes.

And when you visited the property after you left a note and cards, were the note
and cards still there?

Sometimes they were and sometimes they weren’t because 1 have to stick them on
the outside of the door and there’s a lot of people always hanging around in that
neighborhood, so l can’t tell who is taking them.

It"s a corner building?

It’s right off the alley.

See Exhibit 4, pp. 4 - 7.

ll.

As a result of this Court’s consideration of Petitioner"s Application for an Order

Directing the County Clerk to Issue a Tax Deed, as well as on the basis of the testimony of

 

 

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GlLBERT BALIN proffered in support the aforementioned Order of December l'!, 1998 was
entered._ directing the County Clerlt to issue a tax deed to petitioner CAPITAL 'I`AX
COR.PORATION.

l2. As stated, a material and essential element in this Court’s consideration of the
facts in determining whether to direct the County Clerk to issue a Tax Deed in favor of
CAPITAL TAX CORPORATION. was the nature of the property as falling under §21~350(a),
i.e., as commercial property, which abides by the shorter redemption period of` six (6) months,
rather than the longer period applicable to property fitting within §21-350(b)_. or property
improved with a structure consisting of at least one and not more than 6 dwelling units, which
has a redemption expiration period of 2‘/1 years from date of sale. ' .r

he Harm to the ovant:

13. On March S, 1999, Movant J'AMES GARNER appeared before this Court upon
an Emergenc`y Petition to Vacate Order Directing County Clerk to lssue Tax Deed, Pursuant to
lllinois Code of Civil Procedure Section 5»’2-1401. Movant then and there represented to this
Court, pursuant to his attached Affidavit in support, that during the immediately prior week_. it
was brought to his attention that petitioner CAPITAL TAX CORPORATION had come into title
of the subject premises, and that he no longer stood as the record title holder. This was brought

to his attention by the physical appe§an_ce at the subject premises on March 3, 1999 of four
£=l- *_"

 

individuals purporting to have been sent by the office of O.P. R_EAL ESTATE, lnc., which has

 

 

its office at 100 N- LaSalle Street, Suite l ll 1, Chicago, lllino_i_s_. On information and belief,

GILBERT BALIN is a principal of O.P. REAL ESTATE, Inc. At that time, as Movant’s

 

Aff`rdavit recites, the four individuals broke the front door lock to the premises and attempted to

 

6

 

 

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gain entrance to the premises A discussion ensued. and based upon the information obtained by
GARNER at that time relative to this proceeding having been initiated by CAPITAL `[`AX
CORPOR_ATION, GARNER inspected the instant court file and then filed his Emergency
Petition under §2-1401 of` the Code of Civil Procedure.

14. The Ernergency Petition was rooted in two (2) arguments:

(_a_l Despite the assertions of fact recited in the Affidavit of TIMOTHY
BAL[N in support of the Application for an Order Directing Issuance of Ta_x Deed, relative to
appropriate statutory notice having been served upon JAMES GARNER, in fact actual notice
was n_ot given to JAMES GARNER of the pendency of this proceeding, and ftn'thermore diligent
efforts were no_t made to accomplish service upon him as required by statute; and
(b) That the entire proceeding initiated by CAPITAL 'I`AX CORPORATION

to obtain a tax deed for the property was based upon an inaccurate characterization of the instant
property as commencal property, subject to a 6 month redemption period, when in fact the
property was residential, and therefore subject to the longer, 30 month period.

15. On May 5, 1999, this Court entered an Order upon the said Emergency Petition to
Vacate Under Section 2-1401, without objection from petitioner CAl’l`l`AL TAX
CORPORATION, which vacated its earlier December 17, 1998 Order Directing County Clerk to
issue Tax l')eed1 and which further directed the Cook County Clerk and Cook County Collector
to mark their records and books to reflect the vacation of the December l?, 1998 Order. The
May 5, 1999 Order further provided that the redemption date for the 1997 scavenger sale by
which CAPITAL TAX CORPORATI_ON became the tax purchaser shall be extended, as
requested by GARNER, to February 6_. 2000. A copy of this Court’s May 5_. 1999 Order is

attached as Exhibit 5.

 

 

 

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16. Whether CAPlTAL TAX CORPORATION declined to oppose the Petition to
Vacate Order Under Section 2-140] on account of one or both of the bases asserted by GARNER
in his Petition, or neither, makes no difference Your Movant_. by entry of its May 5, 1999 Order,
has at least been returned to the status of record title-holder of the subject premises. What has
not been returned to Movant is his out-of-pocl<et expenses in attorneys` fees and costs, not to
mention his lost time1 all of which were necessarily incurred to return the title to that status quo.

17. Movant believes that the entire proceeding_. beginning with the Petition for Tax

Deed and the later Application for an Order Directing County Clerk to lssue Tax Deed, was

 

improperly filed and violated lllinois Supreme Court Rule 13? in that._ not only was there no

 

reasonable inquiry into the facts before these matters were filed, but that for the reasons ` .,
hereinafter stated, CAPITAL TAX CORPORATION and its counsel knew or should have known
that the subject property was previously adjudicated by Judge Michael Murphy of this division

of the Circuit Court of Cook County, to be residential, and @_t commercial, for purposes ofthe
applicable redemption period.

18. As stated._ your Movant JAMES GARNER has been the record title holder of the
subject premises since as long ago as May, 1989.

19. On or about October 22, 1991, a previous corporation for which GILBERT
BALIN Served as Inspector, and. on information and beiief, of which GILBERT BAL[N was a
principal_. purchased the taxes for thi_s properly for the years 1988 and 1989. That corporation
was GALAXY PROPERTIES, [NC. (hereinafter “GALAXY”), an lllinois corporation

20. 'l'hereafter,l a Petition for Deed was filed with this Court on the part of GALAXY,
which provided that Certit`icate of Purchase #91$-0003?2? was issued and delivered to

GALAXY’s assignor, which then assigned the same to GALAXY. (See Petition for Deed, Case

 

 

 

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No. 92 CoTDS 1 153, Certificate No. 915-000372?, PlN #20~{}2-303-{3‘32-00001 Vol. 417,
attached hereto as Exhibit 6.)

21. The Petition for [tax] Deed further provided that there had been no redemption of
the taxes to the date of filing, and that the redemption period would expire if no redemption were
made by the “extended date"’ of March 5, 1993.`*

22. A redemption of the outstanding taxes was thereafter made. However, a dispute
arose over the general issue of whether the subject property was residential or commercial in
nature, and, depending on the couz‘t’s deterrnination, whether a mortgage holder on behalf of
GARNER as record title holder, rather than GARNER himself, could validly redeem the taxes

23. On or about March 26, 1993, petitioner GALAXY PROPERTIES, lnc. filed its -»
Motion to Expunge Redemption1 whereby GALAXY sought to establish that the redemption of
the taxes by a party other than the record title holder was invalid and voidable A copy of
GALAXY`s Motion to Expunge Redemption is attached hereto as Exhibit ?.

24. After the matter was fully briefed, a hearing was held before the Honorable Judge
Michael Murphy on May 25, 1993. At that hearing, testimony was given by JAMES GARNER
in opposition to the Motion to Expunge Redemption, and on behalf of GALAXY testimony was
given by GILBERT BALIN -- the same GILBERT BALI'N who testified before this Court on
- - _.I-_une 3{}, 199-8a A~t that hear-'ing, similar to-the_hear=i-ng-held on June 30-, 1998,-3:§£1-`[»\1- Was called _ _
to testify as to the nature of the property, his familiarity with the property as the Inspector for

GALAXY PROPERT[ES, lnc., and, indeed, BALIN was qualified as an expert witness to render

 

3'[`l'ie taxes for the years 1988 and 1989 having been sold on October 22, l99l, even the extended
period to and including March 5, 1993 for redemption of the taxes fell far short of the redemption period
for residential property applicable at that time, which should have been 2'/2 years, or an expiration date of
April 22, 1994. 35 ILCS 205!'253(b)(2) [1992].

 

 

 

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opinion testimony as respects the issue of whether the property in question was commercial in

character or residential in character. Attached hereto as Exhibit 8 are relevant portions of the

transcript from the May 25, 1993 hearing. BALlN’s testimony (at pp. 8 - 41) concluded, from

making trips to the property, from taking photographs of the property (which were admitted into

evidence at the hearing), and from his experience from 40 years of involvement in real estate

matters._ the subject property at 51 14 - 5116 S. Damenq Chicago, lllinois was commercial.

BALIN testified._ in pertinent part:

Q.

Based upon your experience with a visual view of the property indicate [sic] it
appears to be a single family residence?

No.
And why is thar?

Because it’s built as a store and apartment and nobody changed the facade or the
outside or anything to make it indicate that it was a single family residence and
for all practical purposes, anybody that would see it would think it was a store and
a residence.

(.S'ee Exhibit 8, p. 33.)

25.

Shortly thereafter, Judge Murphy conducted brief examination of GILBERT

BALIN to inquire into the basis of BALIN’s contention that the property was commercial and

not residential. The Court inquired of BALIN:

THE COUR.T: And am l misreading these photographs or is there something you

said that’s not -- you said it’s commercial in nature and l don’t see any commercial signs
or anything Why do you say it is commercial?

THE WITNESS: Because it’s a store. This is a store on the first floor. This is a

store. lt is built as a store. This is a store window

I mean normally if it’s a single farnin residence, you wouldn`t have a store

window in a separate -- two separate doors.

THE COURT: Okay. That’s why you concluded it is'?

10

 

 

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THE Wl'l'NESS: Yes. ln my experience, Your Honor, all the building l"ve seen
like that are commercial.

(Pp. 36 - 37_. Exhibit 8.)

26. Thereafter. following both sides resting and argument having been heard, Judge

._-__

Murphy ruled that the property must be considered residential in natur_e_ and specifically nat

 

commerciall ln pertinent part, the Court stated in its ruling:

Now, what is it‘? ls it commercial or is this residential? 'l`hat’s another difficult
question. Unfortunately -- fortunately, that"s just a question of fact. I view the evidence
of both witnesses l think they are both telling the truth. l don’t know what’s behind that
window throughout the city. 1We’ve seen cases like this where they board up the front
window and they lived behind there. There"s homes like that throughout the city.

One of the more contested cases, l don’t think either one of you are involved1
involved a property down in Maxwell Street where that occurred, and then there's some .-

property up north the same way, where a store turns into a dwelling unit.

One witness was in the place. l-le claims to live there with his family. The other
witness was never in.

l can’t see any signs of commercial use from the outside of the photographsl And

_I’m interpreting it as it’s being used as a single family unit- lt is just my interpretation
based upon what was there.

* =r # * *

But just from the evidence today, I’m viewing that as a single family unit.

=l¢ * * * *

denied?
THE COURT: That’s the bottom line.
(Exhibit 8, pp. ?'9 - 81.)
2?. Attached as Exhibit 9 is a copy of the order entered May 25 , 1993, by which the

Court denied the Motion of GALAXY PROPERTIES, Inc. to Expunge Redemption.

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anclusigr_t

28. Given the undeniable fact that GILBERT BALIN appeared before Judge Murphy
in 1993 in a dispute relating to the specific issue of whether the subject property, at 5114 - 51 16
S. Damen Avenue, Chicago, lllinois, was commercial rather than residential; and given the
undeniable fact that GILBERT BALIN was present when Judge Murphy adjudicated the instant
property to be residential in character -- rejecting BALIN"s opinion witness testimony that the
property was commercial, in a case involving an attempted tax redemption following a sale of the
taxes to one of BALlN’s companies; and given the fact that it was BALIN’$ testimony which
was presented to t_h_i,s Court on June 30, 1993q wherein BALIN testified, under oath, that he
inspected the property on December 18, 1997 and determined it to be improved with "`a store anch
an apartment;" that he further inspected the property both prior to and subsequent to that
December 18, 1997 visit, in the full knowledge ofJudge Michael Murphy’s earlier contrary
adjudication; your Movant submits to this Court as follows:

A. That it is a fraud upon this Court for BALIN and the Company for which he was

 

 

 

testifying in the ex parte hearing to opine as to the commercial character of the property, without
communicating to the Court that a contrary adjudication by the same Circuit Court of Cook
County as to the same property had taken place flve years earlier before a differentjudge;

B. Iha.t BALIN`$ knowledge of these most Sai_ien_t facts must be imputed to
CAPITAL TAX CORPORATION, the party bringing the action;

C. That BA_Ll'N’s knowledge of these most salient facts must be imputed to counsel,
TIMOTHY BALIN_. who signed the pleadings;

D. `l'hat Attomey UMOTHY BALIN, whose recitals in the Application for an Order

Directing County Clerk to Issue Tax Deed, and whose sworn Afl"idavit in support therefor each

1')

 

 

 

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indicate that the expiration of the redemption period for the property was to occur on a date
which only would apply to commercial property, governed by Section 200!21-350(3}_. which he
knew or should have known, from a reasonable inquiry into the facts, was inaccurate and likely
to result in the wrongful issuance of a tax deed which would work financial harm upon Movant;

E. That JAMES GARNER as a result was required to expend substantial sums in
attorneys fees. necessary costs and his own time, all incidental to ascertaining the nature of the:
proceeding and precisely what had taken place in court in 199? and 1998 relating to his property
and correcting it_; and

F. But for the gross misrepresentations made to this Court by CAPITAL TAX

_-'

CORPGRATION, as certified by its counsel, and as represented by GILBERT BALIN in his ‘ .»

 

testimony in open court on June 30, 1998, all of which yielded the December l?, 1998 Order and

subsequent issuance of a tax deed by the County Clerk, none of the aforedescribed financial harm

 

would have befallen Movant;

NOW, THEREFORE_. based upon the foregoing facts, your Movant, JAMES GARNER,
now respectfully asks this Court to enter an award of sanctions pursuant to Suprerne Court Rule
137 against CAPITAL TAX CORPORA`I`ION, Attorney TlMOTl-IY BALIN. and, if it be
learned that CAPITAL TAX CORPORATION is in reality nothing but a shield against liability
for Gl_l_._BE_RT BA_LIN__as a substantial slur~‘.'hr_)l_de_r1 then also directly against QILBEBT BAL_lN.,_
requiring restitution to Movant of all of his out of pocket expenses, including a reasonable
attomeys" fee and costs, as well as further incidental expenses relating to the unlawful break-in to
the subject premises by way of lock replacement, etc.; and any other and further relief as this

Court deems just and fair under the circumstancesl

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§EXH|BIT

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The undersigned, being first duly eworn, deposes and eaya;

AFF IDA '#` IT

  

‘|. MB Ba.r).k'e Mr. Angel Belt:'.r'an, on 9-’?-04, stated the following

to me:
A. ) "Plaster in bags was thrown from Mr. Garner' s house(511d,

s. Damen) into my bank air conditioning area....etopping my
unit from working."

B.) "Worker's filled the bank'e dumpster with bricks from
Mr. Garner‘s house."

2c Mr. Beltran. gave me his business card.
3. Mr. Beltra.n received my business cards

4.. Mr. Beltran caused the city government(poliee, streets &ea.ne ,ete)
to come to Mr. Garner' s house and threaten to stop the building

repair-men from working.
This affidavit was executed by me on »é%!/O , 200%'.
sears or _ "l_- C, ) %! z

courier or C,OO l<\. )

 

     
 

I certify that t, 522 who is personally
known to me to ue t e person w oee name a subscribed to the fore-
going instrument produced f as ID, personally

appeared before me ~Q.<-{ and acknowledged the

   

mmm-srmon.l.mo
urme

_A_.. ___

 
    

    

 

 

 

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STATE Ol' m
mm ill HUMAH mm

|N‘!H.I'.MA’¥TBI Dl'!
JARIS Gm!:ll mm M! NDZ mm

m

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Case: 1:15-cv-10553 Document #: 1 Filed: 11/20/15 Page 88 of 100 Page|D #:88

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Occunence 5114 S Damen Ave gear 0915 wm A”|gned: 9168
Location: Chicago IL RO Arrival Date: 12 May 2006 1?:39
290 - Residence

 

Occurrence Date: 01 Mard¥ 2004 00:0‘1 - 12 May 2006 16:00

Name: GARNER, James
Res: 5114 S Damen Ava

Chicago lL
CPD Ol'Hoer: No

Age: 55 Years

Name: GARNER. James

Ree: ’51 14 S Damn Ave

Chicago iL
CPD thcsr: No

 

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EVENT#‘|4319 VlCTlM STATES THAT HE FEELS TH.N|{. MB FINANC|AL BANK IS MAKING NUMEROUS FALSE REPORTS
AGAINST HIM BECAUSE HE REFUSES TO SELL HlS PROPERTY TO THEM. HE STATES THAT lN MARCH 2004 AFTER
REFUSING TO SEEL HIS PROPERTY TO THE BANK, THE BANK MANAGER_ P|CKED_ UP TRASH AND THREW lT IN VlCT|MS
' BACK YARD. IN SEPT. 2034 THE V!CT|M GOT A LOAN ON HlS PROPERTY FOR IMPROVEMENTS AND HIS L.ENDER WAS
STANDING lN FRONT LOOK|NG AT THE WORK THAT WAS BE|NG DONE ON THE PROPERTY WHEN HE WAS
APPROACHED BY M BELTRAN THE BANK MANAGER OF MB F|NANC|AL. MR BELTRAN ASKED COGMISE THE VICTFMS
LENDER WH_AT HE WAS DO|NG WlTl-l THE PROPERTY. MR BELTR.AN STATED HE WA.S GO|NG TO CALL THE POL|CE
AND HAVE THEM COME AND STOP THE WORK FROM HE|NG DO|NE BECAUSE THE REHABBERS WERE MAK|NG A
MESS. WCTIM STATES THE POL|CE SHOWED UPANS MR COCM|SE TOLKD THENM THAT THE REHABBERS WERE |N
FACT CLEAN|NG UPO THEIR MESS AND THE POL|CE LEFT. VlCTi STATES THAT MB FlN.ANC|AL PUT A FREEZE ON
VICTIMS ACCOUN¥WHICH HAS A BALANCE OF 200. 00 lN ITV\HTHOUT WRITTEN NOT|CE. lN SEF’T m VICTIM STATED
HE WAS OUTS|DE WORK]NG ON HlS RES|DENCE AND OBSERVED THE POL|CE TALK|NG TO THE BANK SECUR¥TY
GUARD y|CTlII LATER HEARD ROCKS BE|NG '|'HROWN AT H|S W'INDOW AND WHEN HE WENT TO THE MNDOW WITH
A CAMERA A POL|GE OFFlCER PULLED OUT A GUN. A FEMALE SUPERV]SOR SHOED UP ON THE SC£NE AND TOLD THE
. OFFlCER TO PUTHER GUN ,AWAY. THE SUPERVISOR EXPLA|NED TO THE VlCTIM THAT THE BANK GUARD CLA|MED HE
WAS GN|NG HER DESCR|PTTON ON A CELL PHONE. VICTIM_ STATES HE DlD NOT KNOW W|~IAT THE GUARD WAS
TALK|NG A‘B_OUT AT WHlCH TiME THE POL|CE LEFT. lN APR|L 2006 THE V|CT!M WAS Sl`¥T|NG WlTH HIS 2 CHILDREN AND
WIFE lhi A WHITE VAN AT HAROLDS CH|CKEN WHEN HE WAS APF'ROA_CHED BY THE POLJCE WHO ASKED THE VlCTlM
TD SHW HlS ID, VlCTM STATED THAT HE LWED ACROSS THE STREEI' ANDS SHOWED THE OFF|CERS H|S WORK
PERM|TS. THE OFF|CER S'TATED THAT THE'BANK GUARD CN_LED AND STA`|'ED THAT THE VICTIM WAS CAS|NG THE
BANK ANS TAK}NG P|C`IURES. lN MAY m THE BANK GUARD AGAIN CALLED THE POL|CE AND AGA|N STATED THAT
HE WAS CASING AND TAKING PlCTURES OF THE BANK. THE VlCTIM FEELS THAT THE BANK IS MAK|NG THESE FALSE
REPORTS BECAUSE HE WONT SELL HlS PROPERTY.V|CT!M STATED THAT HE HAS WRITTEN TO THE'SECURITY
AGENCY ABOUT THE GUARD. THE BANK PUT A FEEZE ON HlS'ACCOUNT \MT|-{ NO EXPLANAT|ON AND VlCT|M CAN NOT
GET HIS MONEY OUT OF HS ACCOUNT. WH%CH HE IS HANDL|NG WI`I'H A CNIL ATTORNER. VICT|M STATES THAT HE lS

 

‘ lGel'Iel'l£!d . GA Shal'o 4 22~MAY~20C515:51 -»"""
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December 11,2006

Via Fluinil¢ |"l'l§,?$?.lll$l| § u§. Mg_i_l

Mr. James Gamor
P.O. Box 368371
Chicago. IL 60636

Door Mr. Gamer.

Enclosed plmso find the letters scm to the Chicago Polioc Dcpam'ncm, MB
Finamial, and Securitas inrogmdtoyourpropeny at 5114 S. DmnonAve.

lamin:ooeiptofyomfaxdatod Deoember 11,2006. Ascopangmph l, l told
you if there were any additional lamont nom the bank l would look m the facts and
might take the case on a contingent basis depending on the facts. 1 will order the
transcripts today and send you a copy of thc lemon Should you have any questions,

please do not hesitate to oall.
Vory truly yours,
zahn K. Kn¢d`sey:; n
JKK/cm

co: James Garner

 

 

 

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Case: 1:15-cv-10553 Document #:LJAfgg,qéElal/ZO/l£$ Page 92 of 100 Page|D #:92
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December l l, 2006

Marlo J. Gaal

Hmnan Resomms

MB Finmoial Bank
Glll North Rivcr Rood
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§§ lag Gamr, 5114 S. Damgg Avg,
Doar Ms. Gaal:
Nis¢n&£ilinu, Lchas hamm whom omr, 5114 s.nam-.-n Av¢.,
concealing cousin actions taken With MB I"inancia| Bank and Mr. Angel Beh:ran since
Mr. Gamer refused MB Fioancial’s offer to pmchas: his pmpmy. Mr. Garner alleges
the actions ofthe bank have interfered with his ability to finish work on the building.
lf there am any actions taken by MB Financiol Bank thai interfere with Mr. :-_“""' "
Gmner's ability to repair his propeny, said actions will be followed by legal action.

V¢ry truly mm

L'
John K. Knmfscy

JK.K!cm
co:hmosGaxmr

 

 

 

Case: 1:15-cv-10553 Document #: 1 Filed: 11/20/15 Page 93 of 100 Page|

 

P.o- Box 368371
chicago m. 60636
Juiy 26, 2007
office of hamm standards
crrY oF cHICAoo
10 w. 35:\1 sued .#1200
Chicago, minnis 60616

Rc: Correspondencc(VlA US Mail) From Citizon-
Fomal Complaint Against Following Cops Namod Hcrein Below

Gcntlemcn:

Last Friday(.luly 20, 2007), around 8 :.,40a.m the bank’ s guard called the police,

MMML£&RQHCLL€RQE£(RW??A?G) m and cummm(Mr Pemnl, Mr.
Dorsch. and S¢rgwlf Y‘>\mg) mmaod(aro\md 5:15pm) mmaku_polico_ccnoct.

Again, on july 24, 2007, l contacted the Chicago Policc. Af’cer I advised the
police of all the previous incidents of bank harassment(via police
report[I-IM346904] { COPY ENCLOSED]), Sergcant Panagas suggested that l get an
appraisal, contact the bank, offer to sell my property, and this would solve the problcm.

Mr. Panagas, alsoindicatcdtllatlcouldboancstcd,iflarrivedatthebuildjogand
was working on the exterior. The bank guard could call the police, sign a complaint, and
have me arrested Ho'wever, - - '

mmconoemtngthebankscnmcofmaktngafalsepohcereport.

Mr.Panagasalsoindicatedthatafemalcbankguard,callcdpoliceandmadethe
following fidsc allegatioos; / '
1. “ ..... disno'bance with somebody spraying wmer, taking pictures afa her, "~\
and threatening her...”; “.....she had the same problem last year with the ojender and
did a report back then ..... ”;

 

lun’ta#ordtobearmtodinfrontofmy kids,li'lcomctothopmpertymd
l have to work outside the buildiog. Hou_cng:u_gzlioo_romctmadc_chtlm
M:iltcidmmmtib£d.hcccimahnxc? How can I get police protection from those
continuous crimes(series of false reports) by bank personnel? Can you get and preserve a
transcript of my calls to the cops? How does the OPS-complaint process work?

Sincc¢cly,
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Page l ofl

 

 

 

   

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EXPHBFT

Qase: 1:15-cv-10553 Document #: 1 Filed: 11/20/15 Page 96 of 100 Page|D . /6
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THE CLERK: James Garoner, Motion-Defenoant;
winn an actorney.
THE COURT: All [lth. He le here.
Do you have en aLLorney on Lhe way?
THE DEFENDANT: Uood morninq, your Honor.
THE COURT: Do you have en attorney on the way?
THE DEFENDANT: nlquouli_ll§e_to_@eke_enother motion
101 11 3_11_1__>1__1_1__1<11-

THE COUPT: l know. This 15 the oLner ceee.
THE DEFENDANT: All rlqht.

THE COURT: No. You cannon D§Fe_any mo§§on.

 

 

§ l am not golnq to allow you Lo represent yourself.

THE DEFENDANT: For the record, Licannot afford en
i Attornez, because my only oou:ce of income is
Social Security, end my house le in foreclosure; because

§P Bank Le_ggyin _Low§§§e mg §rop§;ey.

_ iTH§.COu ii
;` 5/24/11 at 9:00 e.m.

You will beicominq back with a lawyer.
wl ugll_eee you tomorrow et 9:00 O'clock e.m.
THE DEFENDANT: Thank you, your Honor.
{Whereupon, a continuance was

was taken to 5/24/11.)

 

 

 

 

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City of Chicago, a municipal corporatlorl.

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P|aintiff. )
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vs. 1 04 1111 402533
)REi 5114S_Darr1erl Ave__U “i`i‘-r=l `.
James Garnerl Capltal Tax C`,orp.l 1 Chgo. |t_ m_} " copy
Glooal l_and Enterprises. 1 `ii'Ei‘i`lirli'O pia_l’g 13er
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Clalmants`, Defendanls.
Motlon to Dlsmiss Plalntlff`s Complaint for Eou1taole Relie.‘

NO\N COMES James Garner herein after referred to es Garner who states in
support of the above captioned pleading as follows

l Oh May ZBL", 2004 Garner owned the premises at both 5114 S. Damen m
the cliy of (_`,hicogol Cook Co. , ll.

2 On May 28"‘, 2004 an employee of the Plaihtih' Jason Floberts,
without authority came on to the property of Garner and ordered a ci y worker to
tow away seventeen motor vehicles owned by Garner and Whlch had been
stored on Garner’s property at5114 S_ _Darnen Ave_ , leaving Garner oench of
any assets With which to afford the proper defense of this properties;

3 On Ju|y 12"`, 2004, the same individual Jason Roberts, again led a raid
upon Garner‘s property improperly 81 illegally obtaining evidence which was to
be later used against Garner 111 a suit which would be lodged against him on July
lQii‘. 2004 to deprive him of his homel

4. in August of 2004 the above numbered ia~.»v;' ult for eQUllablF-` FE`|ileli W‘=S
filed against Garner

5 Oh that date thls court entered en order agolnst Garner reoulrihg him to
vacate the home Where he had lived undisturbed for sixteen years before the
rald;

6. The above actions stripped Garner of substantial assets vvlth which he

could have properly defended himself 111 the housing case brought agalnst hlm»
relauve to his home located al 5114 S. Damen, Chlcagc. |l_;

7 Such actions vvere pan of a conspiracy by lt"e lyl. E. Finohccal Bonl< to
usurp Garner"s property for use by the honl<l itself.

8 Where.‘ore, Garner asks this court to DlSlvllSS thls comp|olnt instanter
and to resc1r.d all orders relating to the Plain'.lrfs home 315114 8 Dameh,
Chlcogo

 

 

